Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                 Page 1 of 110 PageID 22



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

AMERICAN FEDERATION OF
MUSICIANS OF THE UNITED STATES                 §
AND CANADA,                                    §
        Plaintiff,                             §
                                               §     CIVIL ACTION NO. _____________
v.                                             §
                                               §
SKODAM FILMS, LLC,                             §
        Defendant/Non-Party.                   §


  PLAINTIFFS’ APPENDIX IN SUPPORT OF EXPEDITED MOTION TO COMPEL
 SKODAM FILMS, LLC TO COMPLY WITH PROPERLY SERVED SUBPOENA AND
                           BRIEF IN SUPPORT


        Plaintiff hereby files the attached appendix in support of Plaintiff’s Motion to Compel

SKODAM Films, LLC to Comply with Properly Served Subpoena and Brief in Support (the

“Motion”) filed contemporaneously with this appendix.

Affidavit of Subpoena at Issue in Motion to Compel                             App’x 1

Subpoena at Issue in Motion to Compel                                         App’x 2-47

Central District of CA Civil Action No. 2:15-cv-04302 Complaint               App’x 48-54

Central District of CA Civil Action No. 2:15-cv-04302 Answer                  App’x 55-63

Central District of CA Civil Action No. 2:15-cv-04302 Scheduling Order        App’x 64-81

Declaration of Philip Andonian                                                App’x 82-84

Declaration of Philip Andonian – Exh A: 10/28/15 Press Release                App’x 85-89

Declaration of Philip Andonian – Exh B: 7/14/15 Andonian Email                App’x 90-92

Declaration of Philip Andonian – Exh C: 10/20/15 Lawhorn Email                App’x 93-96

Declaration of Philip Andonian – Exh D: 10/22/15 Lawhorn Letter               App’x 97-98




Plaintiff’s Motion to Compel                                                         Page 1 of 2
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                 Page 2 of 110 PageID 23



Declaration of Philip Andonian – Exh E: 10/28/15 Andonian Email             App’x 99-101

Declaration of Philip Andonian – Exh F: 10/30/15 Lawhorn Letter             App’x 102-103

Declaration of Philip Andonian – Exh G: 11/2/15 Andonian Letter             App’x 104-105

Declaration of Philip Andonian – Exh H: 11/4/15 Lawhorn Letter              App’x 106-107

Certificate of Service                                                      App’x 108




                                          Respectfully submitted,

                                          GILLESPIE SANFORD LLP
                                          4925 Greenville Ave., Suite 200
                                          Dallas, Texas 75206
                                          Phone: (214) 800-5114
                                          Fax: (214) 838-0001


Dated: Friday, November 6, 2015    By: /s/ Joseph H. Gillespie
                                         Hal K. Gillespie
                                         State Bar No. 07925500
                                         hkg@gillespiesanford.com
                                         Joseph H. Gillespie
                                         State Bar No. 24036636
                                         joe@gillespiesanford.com


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the above foregoing document was served on
Friday, November 6, 2015 via email to defendant's counsel of record using the Court’s ECF
system.

                                          By: /s/ Joseph H. Gillespie




Plaintiff’s Motion to Compel                                                     Page 2 of 2
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15   Page 3 of 110 PageID 24




                                                                         App'x 1
       Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                                                    Page 4 of 110 PageID 25
AO 888 (Rev. 02ll 4) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action



                                        UNrrBr Srarps Drsrrucr CoURT
                                                                            for the
                                                            Central District of California

             American Federation of Musicians
                               Plaintiff
                                                                                        Civil Action     No.     2:1   5-cv-04302-DMG-PJW
              Paramount Pictures Corporation

                              Defendant


                        SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION' OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To                                                                   SKODAM Films, LLC

                                                        Q,lame   of person to whom this subpoena is directed)

      t
      Product¡on:YOIJ ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See Attachment A


 Place:      Gillespie Sanford LLP, c/o HalGillespie, Esq                                Date and Time:
             4925 Greenville Ave., Suite 200                                                                   1012312015 9:30 am
             Dallas, Texas 75206

      J Inspection of Premises: YOU ARE COMMÄ,NDED to permit entry onto the designated premises,land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                 Date and Time:




        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences ofnot doing so.

Date:         0912512015

                                   CLERKOFCOURT
                                                                                             OR

                                           Signature of Clerk or Deputy Clerk                                           Attorney's signalure


The name, address, e-mail address, and telephone number of the attomey representing                                (name of party)             Plaintiff
American Federation of Musicians of the United States and                     Canada              , who issues or requests this subpoena, are:
 Phil Andonian, 805 1Sth Street NW, Suite 1000, Washington, D.C. 20005, pandonian@bredhoff.com ,202-842-2600

                            Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. a5@)@).

                                                                                                                                                      App'x 2
            Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                                             Page a5Civil
AO 888 (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in
                                                                                                                  of Action
                                                                                                                       110 (Page
                                                                                                                             PageID
                                                                                                                                 2) 26

Civil Action No.       2:1 5-cv-04302-DMG-PJW


                                                      PROOF'OF SERVICE
                     (This sectíon shoultl not be fîled with the coufi unless required by Fed. R. Civ. P, 45.)

            I received this subpoenafor        fuame of individual and title, if   any) SKODAM Films, LLC
on (date)


            I   I served the subpoena by delivering          a copy to the named person as              follows


                                                                                          on   (date)                             or

            Í   I returned the subpoena unexecuted because



            Unless the subpoena \ryas issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of

            $


My fees are      $                                for travel and $                              for services, for a total   of$        0.00



            I declare under penalty of perjury that this information               is true.



Date:
                                                                                                   Server's signature



                                                                                                 Printed name and title




                                                                                                    Seryer's address


Additional information regarding attempted service,                 etc.   :




                                                                                                                                          App'x 3
       Case 3:15-mc-00122-M-BN Information,orObjectsortoPermitlnspectionofPremisesinaCivil
AO88B (Rev.02114)SubpoenatoProduceDocuments, Document 3 Filed 11/06/15 Page 6 of Action(Page3)
                                                                                           110 PageID                                                27

                            Federal Rule of Civil Procedure 45 (c), (d), (e)o and (g) (Effective                             l2llll3)
(c) Place of Compliance,                                                               (ii) disclosing an unretained expert's opinion or information that does
                                                                                  not describe specific occuffences in dispute and results frorn the expert's
  (l) For a Trìal, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Condilions as an Alternativ¿. In the circutnstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the couft may, instead of quashing or
regularly transacts business in person; or                                        modifuing a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions ifthe serving pafty:
transacts business in person, ifthe person                                             (i) shows a substantial need for the testimony or material that cannot be
     (i) is a party or a party's officer; or                                      otherwise met without undue hardship; and
     (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may comtnand:
  (A) production of documents, electronically stored information, or               (l) Producing Documents or ElecÍronicolly Stored Information, These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
ernployed, or regularly transacts business in person; and                         information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course ofbusiness or
(d) Protecting a Person Subject to a Subpocna; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form þr Producing Electonically Stored Information Not Specified.
  (l) Avoiding Undue Burden or Expense; Sanctions, A party or attomey             Ifa subpoena does not specifu a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction-which may include            person responding need not produce the same electronically stored
lost eamings and reasonable attorney's fees-on a palty or attomey who             information in more than one form.
fails to comply.                                                                     (D) Inaccessíble Electonically Stored Informalior. The person
                                                                                  responding need not provide discovery ofelectronically stored information
 (2) Command to Produce Malerials or Petmít Inspectíon.                           fiom sources that the person identifies as not reasonably accessible because
  (Ã) Appearance Not Required. A person commanded to produce                      ofundue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection ofpremises, need not appear in person at the place of       reasonably accessible because ofundue burden or cost. Ifthat showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources ifthe
hearing, or trial.                                                                requesting party shows good cause, considering the limitations ofRule
   (B) Objections. A person commanded to produce documents or tangible            26(bX2XC). The court may specifu conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claìmíng Prívilege or Protection.
sampling any or all of the materials or to inspecting the premises---or to         (A) Information Ilithheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier ofthe time specified for          material must:
compliance or l4 days afterthe subpoena is served. Ifan objection is made,             (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party       tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. Ifinformation produced in response to a
      (ii) These acts may be required only as directed in the order, and the      subpoena is subject to a claim ofprivilege or ofprotection as
order must protect a person who is neither a palty nor a party's officer from     trial-preparation material, the person rnaking the claim may notifl any party
signifìcant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly retum, sequester, or destroy the specified
 (3) Quashìng or Modifyíng a Subpoena,                                            information and any copies it has; must not use or disclose the information
  (Ìt) llthen Required. On timely motion, the couft for the district where        until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modifl, a subpoena that:                     information if the pafty disclosed it before being notifìed; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must presenr'e the information until the claim is
     (iii) requires disclosure ofprivileged or other protected matter, ifno       resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) I(hen Permitted. To protect a person subject to or affected by a            The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modifu the subpoena ifit requires:                               who, having been serued, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or




                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                                           App'x 4
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                     Page 7 of 110 PageID 28



                                        ATTACHMENT A

       Subject to the following definitions and instructions, SKODAM Films, LLC is

commanded to produce the documents and electronically stored information called for in the

following document requests.

                                          DEFINITIONS

       As used in this document subpoena, the following terms (whether capitalized or

uncapitalized) shall include the meanings indicated below:

       1. “You,” “Your,” and “SKODAM” means SKODAM Films, LLC and its subsidiaries,

divisions, units, as well as its agents, employees, affiliates, and current and former officers

(including, but not limited to, Ron Hall, Darren Moorman, and Christopher Bancroft).

       2. “Paramount” means Paramount Pictures Corporation and its subsidiaries, divisions,

units, as well as its agents, employees, affiliates, and current and former officers.

       3. “Disruption” means Disruption Entertainment, Inc. and its subsidiaries, divisions, or

units, as well as its agents, employees, affiliates, and current and former officers (including, but

not limited to, Mary Parent).

       4. “Chazown” means Chazown Pictures and its subsidiaries, divisions, or units, as well

as its agents, employees, affiliates, and current and former officers (including, but not limited to,

Darren Moorman).

       5. “RMJ” means RMJ Capital, LLC and its subsidiaries, divisions, or units, as well as its

agents, employees, affiliates, and current and former officers.

       6. “GRF” means Gelfand, Rennert & Feldman, LLP and its subsidiaries, divisions, or

units, as well as its agents, employees, affiliates, and current and former officers.




                                                  1
                                                                                                        App'x 5
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                      Page 8 of 110 PageID 29



       7. “Same Kind of Different As Me” means the theatrical motion picture titled Same Kind

of Different As Me.

       8. “AFM” means Plaintiff American Federation of Musicians of the United States and

Canada, its constituent organizations, and its agents, employees, affiliates, and current and

former officers.

       9. “Local 47” means Professional Musicians Local 47, American Federation of

Musicians as well as its agents, employees, affiliates, and current and former officers.

       10. “AMPTP” means the Alliance of Motion Picture and Television Producers and its

subsidiaries, divisions, or units, as well as its agents, employees, affiliates, and current and

former officers thereof (including Carol Lombardini and J. Nicholas Counter III).

       11. “BTMPA” or “Agreement” means the Basic Theatrical Motion Picture Agreement in

in effect for the period April 14, 2010 through February 23, 2013, and subsequently extended

through April 4, 2015, as well as each and every predecessor agreement.

       12. “Person” means any natural person, partnership, corporation, association,

governmental body, or any form of organization or legal entity and shall include any affiliate,

division, subdivision, department, agent, attorney, or employee of the person.

       13. “Communication” means any exchange or transfer of information between any two or

more persons, whether written, oral, or electronic and whether through animate or inanimate

devices or agents. The term applies to in-person conversations, telephone conversations,

electronic mail messages, text messages, information sent through online messaging systems

(e.g., Google Chat and Yahoo Messenger), postings on social-media websites (e.g., Facebook

and Twitter), blog postings, internet message board or listserv postings, and any other form of

verbal or non-verbal communication through any other medium. The term “communication”



                                                  2

                                                                                                   App'x 6
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                     Page 9 of 110 PageID 30



also includes Documents containing information prepared or created in order to transfer

information to another person, even if the Document was never sent or transmitted to or received

by the intended recipient.

       14. “Document” means all items encompassed by Rule 34(a)(1) of the Federal Rules of

Civil Procedure, including, by way of illustration only, and not by way of limitation, the

following: any writing of any kind (including originals, drafts, or non-identical copies, whether

different from the original by reason of notations made on each copy or otherwise) including, but

not limited to: notes; diaries; journals; datebooks; reports; calendars; telephone messages; letters;

electronic mail messages; website postings; internet and intranet message board postings,

internet chat room communications; internet and intranet listserv postings; print listings or

advertisements; correspondence; telegrams; facsimiles; manuals; summaries or records of

personal conversations; logs; minutes or records of meetings; minutes of other communications

of any type; transcripts of oral testimony or statements; affidavits; reports and/or summaries of

investigations; or communications of any nature, as well as any drawings, graphs, charts,

photographs, sound recordings, images (including video tapes), and other data or compilations

stored in any other medium from which information can be obtained either directly or, if

necessary, after translation into a reasonably usable form, whether or not claimed to be

privileged or otherwise protected from discovery, including printouts of electronically stored

material, electronically produced or stored files of any kind, including electronic mail and

internet communications (whether stored on a server for a computer system, an individual

computer’s hard drive, a computer disk, a computer backup tape or in any other form on an

active or accessible system), system-generated electronically stored materials, other materials

written and/or produced by hand or in any other form.



                                                  3
                                                                                                        App'x 7
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                     Page 10 of 110 PageID 31



       15. “Identity” or “identify” means:

               a. when used in reference to a person, the person’s (i) full name, (ii) current or

       last-known employment position, (iii) current or last-known residence and business

       addresses, (iv) current or last-known telephone numbers, and (v) current or last-known

       email addresses, and (vi) relationship to you;

               b. when used in reference to a document, (i) a description of the document type

       (e.g., letter, electronic mail message, facsimile), (ii) a description of the information

       contained in the document, (iii) the identity of the document’s author or creator, (iv) the

       date on which the document was created, (v) the identities of all addressees and recipients

       of the document, whether or not the document was actually sent or transmitted, and (vi)

       the document’s current location.

       16. “Describe” or “description” means explain fully by providing all facts relating to the

matter—rather than arguments or conclusions of law—including all facts with respect to time,

place, and manner, as well as the identity of all persons involved in any way to the matter, and,

to the extent necessary to provide complete information, a precise calculation of all numerical

information requested regarding the matter.

       17. “Relating to,” “reflecting,” or “reference” includes all things, actions, or documents

that refer to, pertain to, reflect upon, concern, discuss, regard, embody, show support for,

contradict, comment upon, give an opinion about, make a prediction concerning, evaluate,

identify, describe, mention, analyze, reflect, constitute, or are in any way logically or factually

connected with or may afford information related to the specified matter, issue, or fact.

       18. “And” and “or” shall be construed conjunctively or disjunctively, as necessary to

make the definition, instruction, or question inclusive rather than exclusive.



                                                  4
                                                                                                      App'x 8
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                    Page 11 of 110 PageID 32



       19. “Any” means “each and every” as well as “any one.”

       20. “Including” means “including without limitation.”

                                        INSTRUCTIONS

       1.      You should produce all documents according to the terms of the Production of

Documents Protocol attached hereto as Exhibit 1.

       2.      To the extent that you believe in good faith that responsive documents sought by

this subpoena contain information that is confidential, proprietary, or otherwise unavailable to

the public, you may designate such documents as “CONFIDENTIAL”. All such designated

documents will be treated as confidential and subject to the terms of the Stipulated Protective

Order entered in this litigation, which is attached hereto as Exhibit 2.

       3.      If you are unable to produce any document after exercising due diligence to

secure the document requested, you should produce all documents to the extent possible and

describe your inability to produce the remainder.

       4.      If you object to any document request set out herein on grounds other than an

applicable privilege, state the basis of the objection with sufficient detail to enable the AFM to

evaluate fully and respond to such objection. In particular, if you object to producing documents

on the ground that compliance with any document request would be unduly burdensome or

expensive, describe any searches or investigation that you would need to conduct to respond

fully to the request, including the amount of time and approximate cost involved in conducting

such searches or investigations. If you are declining to produce responsive documents based on

your objection to the request, so indicate in stating your objection. If you are declining to search

for or collect responsive documents based on your objection to the request, so indicate in stating

your objection.



                                                  5
                                                                                                       App'x 9
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                      Page 12 of 110 PageID 33



        5.      If you withhold a portion of any document based on an objection, identify

generally the portion withheld and produce the portions as to which you assert no objection.

        6.      If any requested document was, but is no longer, in your possession, custody, or

control, state whether the document is (i) missing or lost, (ii) destroyed, (iii) deleted, (iv)

transferred to another person (voluntarily or involuntarily), or (v) disposed of in some other

manner. For any such document, describe the circumstances surrounding the disposition of the

document, including the identity of every person with knowledge of the document’s disposition.

        7.      In the event you produce copies of responsive documents to comply with these

requests, you should also retain and preserve the originals of all such documents for inspection.

        8.      As used herein, the singular form of a word shall be construed to mean the plural

and the plural to mean the singular when doing so would ensure the provision of additional

documents, or more complete responses, or to avoid the requests herein being considered

ambiguous, inaccurate, or confusing.

        9.      The use of a verb in any tense shall be construed as the use of that verb in all

other tenses.

        10.     The use of the feminine, masculine, or neuter genders shall include all genders.

        11.     Except as otherwise indicated, the relevant time period for each of the following

document requests is January 1, 2011 through the present.

                                    DOCUMENT REQUESTS

        The following requests are made subject to the foregoing definitions and instructions:

        1.      All documents relating to the development and preproduction of Same Kind of

Different As Me.

        2.      All documents relating to the production of Same Kind of Different As Me.



                                                   6

                                                                                                    App'x 10
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                Page 13 of 110 PageID 34



       3.     All documents relating to the scoring of Same Kind of Different As Me.

       4.     All documents relating to the casting of Same Kind of Different As Me.

       5.     All documents relating to the directing of Same Kind of Different As Me.

       6.     All documents relating to the distribution of Same Kind of Different As Me.

       7.     All documents relating to the financing of Same Kind of Different As Me.

       8.     To the extent not produced in response to another request herein, all documents

reflecting or containing a communication relating to Same Kind of Different As Me between or

among SKODAM, Paramount, Disruption, Chazown, RMJ, or GRF.

       9.     To the extent not produced in response to another request herein, all documents

reflecting or containing a communication relating to Same Kind of Different As Me between

SKODAM and the AFM.

       10.    To the extent not produced in response to another request herein, all documents

reflecting or containing a communication relating to Same Kind of Different As Me between

SKODAM and Local 47.

       11.    To the extent not produced in response to another request herein, all documents

reflecting or containing a communication relating to Same Kind of Different As Me between

SKODAM and the AMPTP.

       12.    To the extent not produced in response to another request herein, all documents

reflecting or containing a communication relating to Same Kind of Different As Me between

SKODAM and Michael Carney.

       13.    To the extent not produced in response to another request herein, all documents

reflecting or containing a communication relating to Same Kind of Different As Me between

SKODAM and John Paesano.



                                              7
                                                                                                App'x 11
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                     Page 14 of 110 PageID 35



         14.   To the extent not produced in response to another request herein, all documents

reflecting or containing a communication relating to Same Kind of Different As Me between

SKODAM and Braden Kimball.

         15.   To the extent not produced in response to another request herein, all documents

reflecting or containing a communication relating to Same Kind of Different As Me between or

among SKODAM, Denver Moore, or Lynn Vincent.

         16.   All permits or licenses, and applications for permits or licenses, relating to the

production of Same Kind of Different As Me.

         17.   All documents, including, but not limited to, communications and written

application materials, reflecting or relating to tax incentives, rebates, discounts, or write-offs

relating to the production of Same Kind of Different As Me.

         18.   All documents relating to the copyright for Same Kind of Different As Me,

including, but not limited to, applications, registrations, transfer agreements, and assignments.

         19.   All contracts (including, but not limited to, assumption agreements, distribution

agreements, and service-provider agreements) relating to the production of Same Kind of

Different As Me.

         20.   All contracts (including, but not limited to, assumption agreements, composer

agreements, and service-provider agreements) relating to the scoring of Same Kind of Different

As Me.

         21.   All invoices, bills, or receipts relating to the production of Same Kind of Different

As Me.

         22.   All expense reimbursement forms relating to the production of Same Kind of

Different As Me.



                                                  8

                                                                                                       App'x 12
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                   Page 15 of 110 PageID 36



         23.   All invoices, bills, or receipts relating to the scoring of Same Kind of Different As

Me.

         24.   All expense reimbursement forms relating to the scoring of Same Kind of

Different As Me.

         25.   All press releases, announcements, advertisements, documents reflecting media

buys, or documents reflecting or concerning public relations relating to Same Kind of Different

As Me.

         26.   Organizational charts describing, reflecting, or relating to the business, corporate,

or organizational relationship between SKODAM and Paramount.

         27.   To the extent not produced in response to Request No. 26, all documents

describing or reflecting the business, corporate, or organizational relationship between

SKODAM and Paramount.

         28.   Organizational charts describing, reflecting, or relating to the business, corporate,

or organizational relationship between SKODAM and Disruption.

         29.   To the extent not produced in response to Request No. 28, all documents

describing or reflecting the business, corporate, or organizational relationship between

SKODAM and Disruption.

         30.   Organizational charts describing, reflecting, or relating to the business, corporate,

or organizational relationship between SKODAM and Chazown.

         31.   To the extent not produced in response to Request No. 30, all documents

describing or reflecting the business, corporate, or organizational relationship between

SKODAM and Chazown.




                                                 9

                                                                                                       App'x 13
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                   Page 16 of 110 PageID 37



       32.     To the extent not produced in response to another request herein, all documents

describing or reflecting the business, corporate, or organizational relationship between or among

SKODAM, Paramount, Chazown, Disruption, RMJ, Denver Moore, or Lynn Vincent.

       33.     To the extent not produced in response to another request herein, a list of all

SKODAM board of directors members.

       34.     To the extent not produced in response to another request herein, a list of all

SKODAM corporate officers.

       35.     To the extent not produced in response to another request herein, articles of

incorporation, company bylaws, and all other corporate foundational documents relating to

SKODAM.

       36.     To the extent not produced in response to another request herein, all contracts or

agreements between or among SKODAM, Paramount, Disruption, Chazown, RMJ, Denver

Moore, or Lynn Vincent.

       37.     To the extent not produced in response to another request herein, all documents

reflecting wage or benefits payments relating to the production of Same Kind of Different As Me.

       38.     To the extent not produced in response to another request herein, all documents

reflecting wage or benefits payments relating to the scoring of Same Kind of Different As Me.

       39.     To the extent not produced in response to another request herein, all documents

relating to or describing SKODAM’s role in the production of Same Kind of Different As Me.

       40.     To the extent not produced in response to another request herein, all documents

relating to or describing Paramount’s role in the production of Same Kind of Different As Me.

       41.     To the extent not produced in response to another request herein, all documents

relating to or describing Disruption’s role in the production of Same Kind of Different As Me.



                                                10

                                                                                                    App'x 14
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                    Page 17 of 110 PageID 38



       42.     To the extent not produced in response to another request herein, all documents

relating to or describing Chazown’s role in the production of Same Kind of Different As Me.

       43.     To the extent not produced in response to another request herein, all documents

relating to or describing RMJ’s role in the production of Same Kind of Different As Me.

       44.     To the extent not produced in response to another request herein, all documents

relating to or describing SKODAM’s role in the scoring of Same Kind of Different As Me.

       45.     To the extent not produced in response to another request herein, all documents

relating to or describing Paramount’s role in the scoring of Same Kind of Different As Me.

       46.     To the extent not produced in response to another request herein, all documents

relating to or describing Disruption’s role in the scoring of Same Kind of Different As Me.

       47.     To the extent not produced in response to another request herein, all documents

relating to or describing Chazown’s role in the scoring of Same Kind of Different As Me.

       48.     To the extent not produced in response to another request herein, all documents

relating to or describing RMJ’s role in the scoring of Same Kind of Different As Me.

       49.     All documents describing, reflecting, or relating to any investment, profit-sharing,

financing, or other monetary or financial interest (including, but not limited to, profits, income,

tax benefits, dividends, or earnings) that SKODAM has in Same Kind of Different As Me.

       50.     All documents describing, reflecting, or relating to any investment, profit-sharing,

financing, or other monetary or financial interest (including, but not limited to, profits, income,

tax benefits, dividends, or earnings) that exists between or among SKODAM, Paramount,

Disruption, Chazown, Denver Moore, Lynn Vincent, or any other person or entity relating to

Same Kind of Different As Me.




                                                 11
                                                                                                      App'x 15
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                 Page 18 of 110 PageID 39



       51.    To the extent not produced in response to another request herein, all documents

reflecting an agreement, contract, obligation, promise, or commitment by SKODAM to score any

theatrical motion picture pursuant to the terms of the BTMPA or any of its predecessor

agreements.




                                               12
                                                                                                App'x 16
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                   Page 19 of 110 PageID 40



                                           EXHIBIT 1

                        PRODUCTION OF DOCUMENTS PROTOCOL

       This Production of Documents Protocol (“Protocol”) shall govern the parties’ productions

in the above-captioned case (the “Litigation”). The parties shall prepare their production

documents in accordance with the specifications set forth below.

I.     PRODUCTION OF HARD COPY DOCUMENTS

       A.      Image files. Image files for a document are to be provided as single page, black

       and white, Group IV TIFFs of at least 300 dpi. Each image should have a unique file

       name, which is the Bates number of the page. In cases where color is an integral part of a

       document (such as, but not limited to, pictures, graphs, etc.), images are to be produced

       as JPEG files.

       B.      OCR Text Files. The parties shall use industry-standard OCR technology. OCR

       text files shall be provided as a single document-level text file for each document, named

       after the Bates number on the first page of that document. The text files will not contain

       any redacted portions of the documents.

       C.      Coding Fields. The following information shall be produced in the delimited data

       files accompanying hard copy documents: (a) ProdBeg, (b) ProdEnd, (c) ProdBegAttach,

       (d) ProdEndAttach, (e) AllCustodian, (f) Document Type, (g) Confidentiality

       Designation, and (h) Text Path.

       D.      Database Load Files/Cross-Reference Files. Documents should be provided

       with (a) a delimited text data file using standard Concordance delimiters for fielded data,

       and (b) an image load file. Each TIFF in a production must be referenced in the

       corresponding image load file. The total number of documents referenced in a


                                                 1

                                                                                                   App'x 17
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                 Page 20 of 110 PageID 41



      production’s data load file should match the total number of designated document breaks

      in the image load files in the production. Each document is to have a reference in the

      delimited text file with fielded data.

      E.     Bates Numbering. All images shall be assigned a Bates number that must

      always: (1) be unique across the entire document production; (2) maintain a constant

      length (0-padded) across the entire production; and (3) be sequential within a given

      document. If a Bates number or set of Bates numbers is skipped in a production, the

      producing party will so note in a cover letter or production log accompanying the

      production.

      F.     Unitizing of Documents. In scanning paper documents, the producing party will

      use reasonable efforts to preserve the logical unity of documents, i.e., distinct documents

      should not be merged into a single record, and single documents should not be split into

      multiple records.

II.   PRODUCTION OF ELECTRONICALLY STORED INFORMATION

      A.     System Files. System and program files, including those as defined by the NIST

      library (http://www.nsrl.nist.gov/), commonly used by e-discovery vendors to exclude

      system and program files from document review and production, need not be processed,

      reviewed, or produced. Additional files may be added to the list of excluded files by

      agreement of the parties.

      B.     De-Duplication. To the extent that exact duplicate documents (based on MD5 or

      SHA-1 hash values at the document level or by message ID and other standard vendor

      methodology for email) reside within a party’s electronically stored information (“ESI”)

      data set, each party is only required to produce a single copy of a responsive document or


                                               2

                                                                                                    App'x 18
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                   Page 21 of 110 PageID 42



     record. Where any such documents have attachments, hash values must be identical for

     both the document-plus-attachment (including associated metadata) as well as for any

     attachment (including associated metadata) standing alone. To the extent that a producing

     party is employing global de-duplication, it will include a single field containing all

     custodians of a document and a single field containing all paths for a document entitled

     “ALLCustodians” and “ALLPaths” respectively. These fields are to identify all

     custodians who had a copy of the produced document and all file paths detailing the

     location at which each custodian had saved each document, each path prefaced in a way

     that a path can easily be identified to a custodian. No party is required to compare

     individual documents in order to exclude documents from duplicate production.

     C.      Processing Time Zone. All documents are to be processed in the GMT time

     zone.

     D.      Parent-Child Relationships. “Children” and their “Parent” documents are a

     “Family” of documents. Children should be located directly after their Parent on the

     production disk and should be sequentially Bates numbered. The beginning and ending

     Bates numbers of the Parent and the Child, along with the family information, will be

     provided in the DAT file under the following filed names: ProdBeg, ProdEnd,

     ProdBegAttach, ProdEndAttach. Parent and Attachment refers to email and its

     attachments, a document and its embedded files, as well as other Family relationships.

     Paths for Child files are to include the parent file name, including extension.

     E.      Container/Compressed Files. A container file (such as a PST, ZIP, or RAR) is to

     have the name of the file and the entire path within (such as inbox, deleted items, folders,

     subfolder, etc.) referenced in the AllPath field but the file itself is not to be produced in


                                                3

                                                                                                     App'x 19
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                  Page 22 of 110 PageID 43



     addition to its contents. A group of files contained in a ZIP or other container files are

     not to be considered a family unless they would be considered a family by another

     relationship (such as a ZIP file attached to an email).

     F.     Embedded Documents. The producing party is required to process embedded

     files. If a document has another file embedded in it (e.g., a PowerPoint presentation that

     has a spreadsheet embedded in it), the embedded file is to be produced as a child to the

     original parent file. Embedded files are to be processed in the same manner as parent

     documents, capturing all referenced and available metadata outlined below. Inline images

     to an email can be imaged in-place and not extracted as a separate file.

     G.     Metadata Fields and Processing. Each of the metadata and coding fields set

     forth in Appendix A (attached) that can be extracted from a document shall be produced

     for that document. The producing party is not obligated to populate manually any of the

     fields in Appendix A if such fields cannot be extracted from a document, with the

     exception of the following: (a) ProdBeg, (b) ProdEnd, (c) ProdBegAttach, (d)

     ProdEndAttach, (e) Parent ID, (f) Attachment IDs, (g) Confidentiality Designation (h)

     AllCustodian, (i) AllPath, (j) Document Type, (k) Native Path, and (l) Text Path, which

     should be populated by the party or the party’s vendor. To the extent that the tools used

     by the producing party’s vendor do not, as a matter of course, collect any of the metadata

     fields listed in Appendix A, the producing party shall provide the requesting party in

     writing a list of metadata fields not available due to the limitations of the vendor.

     H.     Bates Numbering. All images shall be assigned a Bates number that must

     always: (1) be unique across the entire document production; (2) maintain a constant

     length (0-padded) across the entire production; and (3) be sequential within a given


                                               4

                                                                                                  App'x 20
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                   Page 23 of 110 PageID 44



     document. If a Bates number or set of Bates numbers is skipped in a production, the

     producing party will so note in a cover letter or production log accompanying the

     production.

     I.     Image Files. Image files for a document are to be provided as single page, black

     and white, Group IV TIFFs of at least 300 dpi or as needed single page color JPEG files

     of at least the same dpi. All files are to be imaged showing all parts and content of a

     document, including, but not limited to comments, hidden, footnotes, endnotes, track

     changes, and speaker notes. Each image should have a unique file name, which is the

     Bates number of the page. In cases where color is an integral part of a document (such as,

     but not limited to, photos, graphs, etc.), parties reserve the right to request post

     production that images already produced be re-produced as JPEG files.

     J.     Text Files. For each document, a text file containing the extracted text shall be

     provided along with the image files and metadata, when such text exists. When extracted

     text does not exist or a document is redacted, a text file containing OCR is to be

     provided. The text file name should be the same as the Bates number on the first page of

     the document. The text files will not contain the redacted portions of the documents.

     K.     Database Load Files/Cross-Reference Files. Documents shall be provided with

     (a) a delimited text data file using standard Concordance delimiters for fielded data with

     fields titled as listed in Appendix A, and (b) an image load file. Each TIFF in a

     production must be referenced in the corresponding image load file. The total number of

     documents referenced in a production’s data load file should match the total number of

     designated document breaks in the image load files in the production. Each document is




                                                5

                                                                                                App'x 21
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                 Page 24 of 110 PageID 45



     to have a reference in the delimited text file with fielded data. The producing party will

     provide an Ipro LFP or Concordance OPT load file at the requesting party’s preference.

     L.     Spreadsheets and Untiffable files. Spreadsheets and untiffable files (such as

     video and audio files) shall only be produced in native format along with an

     accompanying slip sheet that will include a Bates number and any confidentiality labeling

     for the document. However, if a spreadsheet includes redacted information, it need not be

     produced in native format, but shall be produced in TIFF along with extracted text and

     applicable metadata fields set forth in Appendix A except to the extent the extracted text

     or metadata fields are themselves redacted. If the producing party determines that there is

     significant burden associated with redactions of spreadsheets in TIFF, the parties agree to

     meet and confer on alternative methods of redaction and production of this material.

     M.     Structured Data. To the extent a response to discovery requires production of

     discoverable electronic information contained in a database, the parties shall meet and

     confer to determine the protocol for searching and producing from that database.

     N.     Requests for Native Files. Unless otherwise stated herein, the producing party

     need not produce documents in native format. If good cause exists to request production

     of specified files in native format, the requesting party may request such production and

     provide an explanation of the need for native file review, which request shall not

     unreasonably be denied. The requesting party will provide a specific Bates range for

     documents it wishes to be produced in native format. Any native files that are produced

     shall be produced with all extracted text and applicable metadata fields set forth in

     Appendix A.




                                              6


                                                                                                  App'x 22
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                  Page 25 of 110 PageID 46



       O.     Password Protected Documents. If the producing party produces a password

       protected document, upon request of the requesting party, the producing party will use all

       reasonable efforts to provide the password so that the document can be viewed in the

       same capacity as all other documents produced.

III.   CLAIMS OF PRIVILEGE

       A.     If privilege is claimed over only a portion of a document, the producing party will

       redact the privileged portion and produce all non-privileged portions of that document,

       including any non-privileged attachments. If the non-privileged portion of that document

       (and any non-privileged attachments) has already been produced, then the producing

       party is not obligated to reproduce that partially privileged document with redactions.

       B.     The producing party agrees to serve a privilege log providing information

       regarding the documents being withheld or redacted under a claim of privilege. The

       privilege log shall be produced in both hard-copy and electronic form, the electronic form

       of which shall be both searchable and sortable.

       C.     The producing party does not need to treat attachments to a document as separate

       documents for purposes of the privilege log, but does need to indicate the number of

       attachments being withheld. Any document that is withheld in whole or in part from

       production based on a claim of privilege shall be assigned a document control number.

       D.     The privilege log should include the following fields:

              1.      the document’s control number;

              2.      all authors of the document;

              3.      all addressees of the document;

              4.      all recipients of the document or of any copies of the document;


                                                7

                                                                                                    App'x 23
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                  Page 26 of 110 PageID 47



             5.      the date of the document;

             6.      a description of the subject matter of the document sufficient to allow the

             requesting party to assess the privilege claim;

             7.      the nature or type of the privilege asserted for the document (e.g.,

             “attorney-client privilege”); and

             8.      the number of attachments being withheld.

      E.     Documents sent solely between counsel for the parties, including in-house

      counsel acting solely in a legal capacity, and documents authored by either party’s

      outside counsel that were not directly or indirectly furnished to any third party, such as

      internal law firm memoranda, may be omitted from the privilege log. The attachments to

      such communications may also be omitted from the privilege log.

IV.   MISCELLANEOUS PROVISIONS

      A.     Objections Preserved. Nothing in this protocol shall be interpreted to require

      disclosure of irrelevant information or relevant information protected by the attorney-

      client privilege, work product doctrine, or any other applicable privilege or immunity.

      The parties do not waive any objections as to the production, discoverability,

      admissibility, or confidentiality of documents and ESI.

      B.     Modifications. The terms of this Protocol may only be changed or amended by

      agreement of the parties, confirmed in writing, where such change or amendment is

      deemed appropriate to facilitate the timely and economical exchange of documents or

      ESI.

      C.     No Effect on Cost Shifting. Nothing set out in this Protocol shall affect, in any

      way, a party’s right to seek reimbursement for costs associated with collection, re-


                                                 8

                                                                                                   App'x 24
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15              Page 27 of 110 PageID 48



     processing and re-filtering, scanning, review, or production of documents or ESI except

     as specified in Section III.A concerning redactions.




                                              9

                                                                                               App'x 25
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15          Page 28 of 110 PageID 49



                      PRODUCTION OF DOCUMENTS PROTOCOL
                                  APPENDIX A
                        ESI METADATA AND CODING FIELDS

     For All Files
         ・ PRODBEG

         ・ PRODEND

         ・ PRODBEGATTACH (to include all family members)

         ・ PRODENDATTACH (to include all family members)

         ・ CONFIDENTIAL DESIGNATION

         ・ ALLCUSTODIANS

         ・ MD5 HASH

         ・ PARENT (only populated on child entries)

         ・ ATTACHMENT IDS (only populated on parent entries)

         ・ FAMILY COUNT (including parent & all attachments, standalone files will have

             a value of 1)
         ・ ALLPATHS

         ・ FILE EXTENSION

         ・ CREATION DATE (FORMAT MM/DD/YYYY)

         ・ CREATION TIME (FORMAT HH:MM:SS)

         ・ DOCUMENT APPLICATION

         ・ DOCUMENT TYPE (Email, Edoc, Email Attachment, Edoc Attachment, Paper)

         ・ MODIFICATION DATE (FORMAT MM/DD/YYYY)

         ・ MODIFICATION TIME (FORMAT HH:MM:SS)

         ・ DATE TAKEN DATE (FORMAT MM/DD/YYYY)

         ・ DATE TAKEN TIME (FORMAT HH:MM:SS)

         ・ LAST SAVED BY

         ・ TITLE

         ・ FILE NAME (including extension)

         ・ FILE SIZE (in bytes)

                                          10

                                                                                          App'x 26
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15          Page 29 of 110 PageID 50



        ・ AUTHOR

        ・ LAST ACCESS DATE (FORMAT MM/DD/YYYY)

        ・ LAST ACCESS TIME (FORMAT HH:MM:SS)

        ・ DOCUMENT FILE VERSION

        ・ HIDDEN

        ・ COMMENTS

        ・ TEXT PATH (Path to extracted or OCR text file)

        ・ NATIVE PATH (Path to native file)

        ・ BCC (SMTP form)

        ・ CC (SMTP form)

        ・ CONVERSATION IDS

        ・ MSGID

        ・ MAILSTORE (such as PST name)

        ・ RECEIVED DATE (FORMAT MM/DD/YYYY)

        ・ RECEIVED TIME (FORMAT HH:MM:SS)

        ・ RECIPIENT NAME AND/OR EMAIL ADDRESS (TO, including

           calendar/appointment attendees SMTP form)
        ・ SENDER NAME AND/OR EMAIL ADDRESS (FROM, including

           calendar/appointment organizer SMTP form)
        ・ SENT DATE (FORMAT MM/DD/YYYY)

        ・ SENT TIME (FORMAT HH:MM:SS)

        ・ SUBJECT

        ・ UNREAD

        ・ IMPORTANCE

        ・ SENSITIVITY

        ・ CALENDAR ENTRY START DATE (FORMAT MM/DD/YYYY)

        ・ CALENDAR ENTRY START TIME (FORMAT HH:MM:SS)

        ・ CALENDAR ENTRY END DATE (FORMAT MM/DD/YYYY)

        ・ CALENDAR ENTRY END TIME (FORMAT HH:MM:SS)

                                        11
                                                                                 App'x 27
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 1 of 20 Page ID #:147
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 30 of 110 PageID 51
                                     EXHIBIT 2

     1   LEWIS N. LEVY, Bar No. 105975
         DANIEL R. BARTH, Bar No. 274009
     2   Levy, Ford & Wallach
     3   3619 Motor Avenue
         Los Angeles, CA 90034
     4   Telephone: (213) 380-3140
     5   Facsimile: (213) 480-3284
         Email: LLevy@lfwlawyers.com
     6          DBarth@lfwlawyers.com
     7
         JEFFREY R. FREUND (Admitted pro hac vice)
     8   ROBERT ALEXANDER (Admitted pro hac vice)
     9   ABIGAIL V. CARTER (Admitted pro hac vice)
         PHILIP C. ANDONIAN, Bar No. 222243
    10   Bredhoff & Kaiser, PLLC
    11   805 15th Street N.W., Suite 1000
         Washington, D.C. 20005
    12   Email: jfreund@bredhoff.com
    13         ralexander@bredhoff.com
               acarter@bredhoff.com
    14         pandonian@bredhoff.com
    15
         Attorneys for Plaintiff
    16

    17   ADAM LEVIN (State Bar No. 156773)
         E-mail: axl@msk.com
    18   JUSTINE LAZARUS (State Bar No. 247471)
    19   E-mail: jwl@msk.com
         MITCHELL, SILBERBERG & KNUPP LLP
    20   11377 West Olympic Boulevard
    21   Los Angeles, CA 90064-1683
         Telephone: (310) 312-2000
    22   Facsimile: (310) 312-3100
    23
         Attorneys for Defendant
    24

    25

    26

    27

    28
                                         1
                                                                      App'x 28
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 2 of 20 Page ID #:148
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 31 of 110 PageID 52


     1                         UNITED STATES DISTRICT COURT

     2                        CENTRAL DISTRICT OF CALIFORNIA
     3

     4   AMERICAN FEDERATION OF                      CASE NO.:
     5   MUSICIANS OF THE UNITED                     2:15-cv-04302-DMG(PJWx)
         STATES AND CANADA
     6                                               STIPULATED PROTECTIVE
     7                 Plaintiff,                    ORDER
                v.
     8

     9   PARAMOUNT PICTURES
         CORPORATION
    10

    11                 Defendant.

    12

    13      1. A. PURPOSES AND LIMITATIONS
    14         Discovery in this action is likely to involve production of confidential,
    15
         proprietary, or private information for which special protection from public
    16

    17   disclosure and from use for any purpose other than prosecuting this litigation may
    18   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
    19
         enter the following Stipulated Protective Order. The parties acknowledge that this
    20

    21   Order does not confer blanket protections on all disclosures or responses to
    22   discovery and that the protection it affords from public disclosure and use extends
    23
         only to the limited information or items that are entitled to confidential treatment
    24

    25   under the applicable legal principles. The parties further acknowledge, as set forth
    26
         in Section 12.3, below, that this Stipulated Protective Order does not entitle them
    27
         to file confidential information under seal; Civil Local Rule 79-5 sets forth the
    28
                                              2

                                                                                App'x 29
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 3 of 20 Page ID #:149
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 32 of 110 PageID 53


     1   procedures that must be followed and the standards that will be applied when a

     2   party seeks permission from the court to file material under seal.
     3
               B. GOOD CAUSE STATEMENT
     4

     5         Discovery in this action is likely to involve commercial, financial, and other

     6   proprietary and confidential materials and information for which special protection
     7
         from public disclosure and from use for any purpose other than the prosecution of
     8

     9   this action is warranted. Such proprietary and confidential materials and

    10   information are likely to consist of, among other things, confidential business or
    11
         financial information, information regarding confidential business practices,
    12

    13   information (including intellectual property) regarding the development,
    14   production, scoring, and distribution of theatrical motion pictures—including
    15
         information that might implicate the privacy rights of third parties—or other
    16

    17   confidential information otherwise generally unavailable to the public, or which
    18   may be privileged or otherwise protected from disclosure under state or federal
    19
         statutes, court rules, case decisions, or common law. Accordingly, to expedite the
    20

    21   flow of information, to facilitate the prompt resolution of disputes over
    22   confidentiality of discovery materials, to adequately protect information the parties
    23
         are entitled to keep confidential, to ensure that the parties are permitted reasonable
    24

    25   necessary uses of such material in preparation for and in the conduct of trial, to
    26
         address their handling at the end of the litigation, and serve the ends of justice, a
    27
         protective order for such information is justified in this matter. It is the intent of
    28
                                                3
                                                                                    App'x 30
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 4 of 20 Page ID #:150
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 33 of 110 PageID 54


     1   the parties that information will not be designated as confidential for tactical

     2   reasons and that nothing be so designated without a good faith belief that it has
     3
         been maintained in a confidential, non-public manner, and there is good cause why
     4

     5   it should not be part of the public record of this case.

     6      2. DEFINITIONS
     7
            2.1 Action: The instant litigation, styled AFM v. Paramount Pictures
     8

     9          Corporation, 2:15-cv-04302-DMG-PJW.

    10      2.2 Challenging Party: a Party or Non-Party that challenges the designation of
    11
                information or items under this Order.
    12

    13      2.3 “CONFIDENTIAL” Information or Items: information (regardless of how
    14          it is generated, stored or maintained) or tangible things that qualify for
    15
                protection under Federal Rule of Civil Procedure 26(c), and as specified
    16

    17          above in the Good Cause Statement.
    18      2.4 Counsel: Outside Counsel of Record and House Counsel (as well as their
    19
                support staff).
    20

    21      2.5 Designating Party: a Party or Non-Party that designates information or
    22          items that it produces in disclosures or in responses to discovery as
    23
                “CONFIDENTIAL.”
    24

    25      2.6 Disclosure or Discovery Material: all items or information, regardless of
    26
                the medium or manner in which it is generated, stored, or maintained
    27
                (including, among other things, testimony, transcripts, and tangible things),
    28
                                               4

                                                                                   App'x 31
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 5 of 20 Page ID #:151
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 34 of 110 PageID 55


     1        that are produced or generated in disclosures or responses to discovery in

     2        this matter.
     3
           2.7 Expert: a person with specialized knowledge or experience in a matter
     4

     5        pertinent to the litigation who has been retained by a Party or its counsel to

     6        serve as an expert witness or as a consultant in this Action.
     7
           2.8 House Counsel: attorneys who are employees of a party to this Action.
     8

     9        House Counsel does not include Outside Counsel of Record or any other

    10        outside counsel.
    11
           2.9 Non-Party: any natural person, partnership, corporation, association, or
    12

    13        other legal entity not named as a Party to this action.
    14     2.10 Outside Counsel of Record: attorneys who are not employees of a party to
    15
               this Action but are retained to represent or advise a party to this Action and
    16

    17         have appeared in this Action on behalf of that party or are affiliated with a
    18         law firm which has appeared on behalf of that party, and includes support
    19
               staff.
    20

    21     2.11 Party: any party to this Action, including all of its officers, directors,
    22         employees, consultants, retained experts, and Outside Counsel of Record
    23
               (and their support staffs).
    24

    25     2.12 Producing Party: a Party or Non-Party that produces Disclosure or
    26
               Discovery Material in this Action.
    27

    28
                                              5

                                                                                   App'x 32
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 6 of 20 Page ID #:152
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 35 of 110 PageID 56


     1      2.13 Professional Vendors: persons or entities that provide litigation support

     2           services (e.g., photocopying, videotaping, translating, preparing exhibits or
     3
                 demonstrations, and organizing, storing, or retrieving data in any form or
     4

     5           medium) and their employees and subcontractors.

     6      2.14 Protected Material: any Disclosure or Discovery Material that is
     7
                 designated as “CONFIDENTIAL.”
     8

     9      2.15 Receiving Party: a Party that receives Disclosure or Discovery Material

    10           from a Producing Party.
    11
            3. SCOPE
    12

    13         The protections conferred by this Stipulation and Order cover not only
    14   Protected Material (as defined above), but also (1) any information copied or
    15
         extracted from Protected Material; (2) all copies, excerpts, summaries, or
    16

    17   compilations of Protected Material; and (3) any testimony, conversations, or
    18   presentations by Parties or their Counsel that might reveal Protected Material.
    19
               Any use of Protected Material at trial shall be governed by the orders of the
    20

    21   trial judge. This Order does not govern the use of Protected Material at trial.
    22      4. DURATION
    23
               Even after final disposition of this litigation, the confidentiality obligations
    24

    25   imposed by this Order shall remain in effect until a Designating Party agrees
    26
         otherwise in writing or a court order otherwise directs. Final disposition shall be
    27
         deemed to be the later of (1) dismissal of all claims and defenses in this Action,
    28
                                               6
                                                                                  App'x 33
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 7 of 20 Page ID #:153
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 36 of 110 PageID 57


     1   with or without prejudice; and (2) final judgment herein after the completion and

     2   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
     3
         including the time limits for filing any motions or applications for extension of
     4

     5   time pursuant to applicable law.

     6      5. DESIGNATING PROTECTED MATERIAL
     7
               5.1 Exercise of Restraint and Care in Designating Material for Protection.
     8

     9   Each Party or Non-Party that designates information or items for protection under

    10   this Order must take care to limit any such designation to specific material that
    11
         qualifies under the appropriate standards. The Designating Party must designate for
    12

    13   protection only those parts of material, documents, items, or oral or written
    14   communications that qualify so that other portions of the material, documents,
    15
         items, or communications for which protection is not warranted are not swept
    16

    17   unjustifiably within the ambit of this Order.
    18         Mass, indiscriminate, or routinized designations are prohibited. Designations
    19
         that are shown to be clearly unjustified or that have been made for an improper
    20

    21   purpose (e.g., to unnecessarily encumber the case development process or to
    22   impose unnecessary expenses and burdens on other parties) may expose the
    23
         Designating Party to sanctions.
    24

    25         If it comes to a Designating Party’s attention that information or items that it
    26
         designated for protection do not qualify for protection, that Designating Party must
    27
         promptly notify all other Parties that it is withdrawing the inapplicable designation.
    28
                                              7

                                                                                 App'x 34
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 8 of 20 Page ID #:154
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 37 of 110 PageID 58


     1         5.2 Manner and Timing of Designations. Except as otherwise provided in

     2   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
     3
         stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
     4

     5   under this Order must be clearly so designated before the material is disclosed or

     6   produced.
     7
            Designation in conformity with this Order requires:
     8

     9         (a) for information in documentary form (e.g., paper or electronic

    10   documents, but excluding transcripts of depositions or other pretrial or trial
    11
         proceedings), that the Producing Party affix at a minimum, the legend
    12

    13   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
    14   contains protected material. If only a portion or portions of the material on a page
    15
         qualifies for protection, the Producing Party also must clearly identify the
    16

    17   protected portion(s) (e.g., by making appropriate markings in the margins).
    18         A Party or Non-Party that makes original documents available for inspection
    19
         need not designate them for protection until after the inspecting Party has indicated
    20

    21   which documents it would like copied and produced. During the inspection and
    22   before the designation, all of the material made available for inspection shall be
    23
         deemed “CONFIDENTIAL.” After the inspecting Party has identified the
    24

    25   documents it wants copied and produced, the Producing Party must determine
    26
         which documents, or portions thereof, qualify for protection under this Order.
    27
         Then, before producing the specified documents, the Producing Party must affix
    28
                                              8

                                                                                  App'x 35
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 9 of 20 Page ID #:155
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 38 of 110 PageID 59


     1   the “CONFIDENTIAL legend” to each page that contains Protected Material. If

     2   only a portion or portions of the material on a page qualifies for protection, the
     3
         Producing Party also must clearly identify the protected portion(s) (e.g., by making
     4

     5   appropriate markings in the margins).

     6         (b) for testimony given in depositions that the Designating Party identify the
     7
         Disclosure or Discovery Material on the record, before the close of the deposition
     8

     9   all protected testimony.

    10         (c) for information produced in some form other than documentary and for
    11
         any other tangible items, that the Producing Party affix in a prominent place on the
    12

    13   exterior of the container or containers in which the information is stored the legend
    14   “CONFIDENTIAL.” If only a portion or portions of the information warrants
    15
         protection, the Producing Party, to the extent practicable, shall identify the
    16

    17   protected portion(s).
    18         5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent
    19
         failure to designate qualified information or items does not, standing alone, waive
    20

    21   the Designating Party’s right to secure protection under this Order for such
    22   material. Upon timely correction of a designation, the Receiving Party must make
    23
         reasonable efforts to assure that the material is treated in accordance with the
    24

    25   provisions of this Order.
    26
            6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
    27

    28
                                               9

                                                                                   App'x 36
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 10 of 20 Page ID #:156
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 39 of 110 PageID 60


     1         6.1 Timing of Challenges. Any Party or Non-Party may challenge a

     2   designation of confidentiality at any time that is consistent with the Court’s
     3
         Scheduling Order.
     4

     5         6.2 Meet and Confer. The Challenging Party shall initiate the dispute

     6   resolution process under Local Rule 37.1 et seq.
     7
               6.3 The burden of persuasion in any such challenge proceeding shall be on
     8

     9   the Designating Party. Frivolous challenges, and those made for an improper

    10   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
    11
         parties) may expose the Challenging Party to sanctions. Unless the Designating
    12

    13   Party has waived or withdrawn the confidentiality designation, all parties shall
    14   continue to afford the material in question the level of protection to which it is
    15
         entitled under the Producing Party’s designation until the Court rules on the
    16

    17   challenge.
    18      7. ACCESS TO AND USE OF PROTECTED MATERIAL
    19
               7.1 Basic Principles. A Receiving Party may use Protected Material that is
    20

    21   disclosed or produced by another Party or by a Non-Party in connection with this
    22   Action only for prosecuting, defending, or attempting to settle this Action. Such
    23
         Protected Material may be disclosed only to the categories of persons and under
    24

    25   the conditions described in this Order. When the Action has been terminated, a
    26
         Receiving Party must comply with the provisions of section 13 below (FINAL
    27
         DISPOSITION).
    28
                                              10

                                                                                   App'x 37
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 11 of 20 Page ID #:157
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 40 of 110 PageID 61


     1         Protected Material must be stored and maintained by a Receiving Party at a

     2   location and in a secure manner that ensures that access is limited to the persons
     3
         authorized under this Order.
     4

     5         7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless

     6   otherwise ordered by the court or permitted in writing by the Designating Party, a
     7
         Receiving Party may disclose any information or item designated
     8

     9   “CONFIDENTIAL” only to:

    10         (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
    11
         as employees of said Outside Counsel of Record to whom it is reasonably
    12

    13   necessary to disclose the information for this Action;
    14         (b) the officers, directors, and employees (including House Counsel) of the
    15
         Receiving Party to whom disclosure is reasonably necessary for this Action;
    16

    17         (c) Experts (as defined in this Order) of the Receiving Party to whom
    18   disclosure is reasonably necessary for this Action and who have signed the
    19
         “Acknowledgment and Agreement to Be Bound” (Exhibit A);
    20

    21         (d) the court and its personnel;
    22         (e) court reporters and their staff;
    23
               (f) professional jury or trial consultants, mock jurors, and Professional
    24

    25   Vendors to whom disclosure is reasonably necessary for this Action and who have
    26
         signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
    27

    28
                                              11

                                                                                  App'x 38
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 12 of 20 Page ID #:158
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 41 of 110 PageID 62


     1         (g) the author or recipient of a document containing the information or a

     2   custodian or other person who otherwise possessed or knew the information;
     3
               (h) during their depositions, witnesses, and attorneys for witnesses, in the
     4

     5   Action to whom disclosure is reasonably necessary provided: (1) the deposing

     6   party requests that the witness sign the form attached as Exhibit 1 hereto; and (2)
     7
         they will not be permitted to keep any confidential information unless they sign the
     8

     9   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise

    10   agreed by the Designating Party or ordered by the court. Pages of transcribed
    11
         deposition testimony or exhibits to depositions that reveal Protected Material may
    12

    13   be separately bound by the court reporter and may not be disclosed to anyone
    14   except as permitted under this Stipulated Protective Order; and
    15
               (i) any mediator or settlement officer, and their supporting personnel,
    16

    17   mutually agreed upon by any of the parties engaged in settlement discussions.
    18      8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
    19
               IN OTHER LITIGATION
    20

    21         If a Party is served with a subpoena or a court order issued in other litigation
    22   that compels disclosure of any information or items designated in this Action as
    23
         “CONFIDENTIAL,” that Party must:
    24

    25         (a) promptly notify in writing the Designating Party. Such notification shall
    26
         include a copy of the subpoena or court order;
    27
               (b) promptly notify in writing the party who caused the subpoena or order to
    28
                                             12
                                                                                  App'x 39
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 13 of 20 Page ID #:159
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 42 of 110 PageID 63


     1   issue in the other litigation that some or all of the material covered by the subpoena

     2   or order is subject to this Protective Order. Such notification shall include a copy
     3
         of this Stipulated Protective Order; and
     4

     5         (c) cooperate with respect to all reasonable procedures sought to be pursued

     6   by the Designating Party whose Protected Material may be affected.
     7
               If the Designating Party timely seeks a protective order, the Party served
     8

     9   with the subpoena or court order shall not produce any information designated in

    10   this action as “CONFIDENTIAL” before a determination by the court from which
    11
         the subpoena or order issued, unless the Party has obtained the Designating Party’s
    12

    13   permission. The Designating Party shall bear the burden and expense of seeking
    14   protection in that court of its confidential material and nothing in these provisions
    15
         should be construed as authorizing or encouraging a Receiving Party in this Action
    16

    17   to disobey a lawful directive from another court.
    18      9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    19
               PRODUCED IN THIS LITIGATION
    20

    21         (a) The terms of this Order are applicable to information produced by a
    22   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
    23
         produced by Non-Parties in connection with this litigation is protected by the
    24

    25   remedies and relief provided by this Order. Nothing in these provisions should be
    26
         construed as prohibiting a Non-Party from seeking additional protections.
    27

    28
                                              13

                                                                                  App'x 40
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 14 of 20 Page ID #:160
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 43 of 110 PageID 64


     1         (b) In the event that a Party is required, by a valid discovery request, to

     2   produce a Non-Party’s confidential information in its possession, and the Party is
     3
         subject to an agreement with the Non-Party not to produce the Non-Party’s
     4

     5   confidential information, then the Party shall:

     6         (1) promptly notify in writing the Requesting Party and the Non-Party that
     7
         some or all of the information requested is subject to a confidentiality agreement
     8

     9   with a Non-Party;

    10         (2) promptly provide the Non-Party with a copy of the Stipulated Protective
    11
         Order in this Action, the relevant discovery request(s), and a reasonably specific
    12

    13   description of the information requested; and
    14         (3) make the information requested available for inspection by the Non-
    15
         Party, if requested.
    16

    17         (c) If the Non-Party fails to seek a protective order from this court within
    18   14 days of receiving the notice and accompanying information, the Receiving
    19
         Party may produce the Non-Party’s confidential information responsive to the
    20

    21   discovery request. If the Non-Party timely seeks a protective order, the Receiving
    22   Party shall not produce any information in its possession or control that is subject
    23
         to the confidentiality agreement with the Non-Party before a determination by the
    24

    25   court. Absent a court order to the contrary, the Non-Party shall bear the burden and
    26
         expense of seeking protection in this court of its Protected Material.
    27
            10.UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
    28
                                              14

                                                                                   App'x 41
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 15 of 20 Page ID #:161
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 44 of 110 PageID 65


     1          If a Receiving Party learns that, by inadvertence or otherwise, it has

     2   disclosed Protected Material to any person or in any circumstance not authorized
     3
         under this Stipulated Protective Order, the Receiving Party must immediately (a)
     4

     5   notify in writing the Designating Party of the unauthorized disclosures, (b) use its

     6   best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
     7
         the person or persons to whom unauthorized disclosures were made of all the terms
     8

     9   of this Order, and (d) request such person or persons to execute the

    10   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
    11
         A.
    12

    13        11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
    14          PROTECTED MATERIAL
    15
                When a Producing Party gives notice to Receiving Parties that certain
    16

    17   inadvertently produced material is subject to a claim of privilege or other
    18   protection, the obligations of the Receiving Parties are those set forth in Federal
    19
         Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
    20

    21   whatever procedure may be established in an e-discovery order that provides for
    22   production without prior privilege review. Pursuant to Federal Rule of Evidence
    23
         502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
    24

    25   of a communication or information covered by the attorney-client privilege or
    26
         work product protection, the parties may incorporate their agreement in the
    27
         stipulated protective order submitted to the court.
    28
                                              15

                                                                                  App'x 42
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 16 of 20 Page ID #:162
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 45 of 110 PageID 66


     1      12.MISCELLANEOUS

     2         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
     3
         person to seek its modification by the Court in the future.
     4

     5         12.2 Right to Assert Other Objections. By stipulating to the entry of this

     6   Protective Order no Party waives any right it otherwise would have to object to
     7
         disclosing or producing any information or item on any ground not addressed in
     8

     9   this Stipulated Protective Order. Similarly, no Party waives any right to object on

    10   any ground to use in evidence of any of the material covered by this Protective
    11
         Order.
    12

    13         12.3 Filing Protected Material. A Party that seeks to file under seal any
    14   Protected Material must comply with Civil Local Rule 79-5. Protected Material
    15
         may only be filed under seal pursuant to a court order authorizing the sealing of the
    16

    17   specific Protected Material at issue. If a Party's request to file Protected Material
    18   under seal is denied by the court, then the Receiving Party may file the information
    19
         in the public record unless otherwise instructed by the court.
    20

    21      13.FINAL DISPOSITION
    22         After the final disposition of this Action, as defined in paragraph 4, within
    23
         60 days of a written request by the Designating Party, each Receiving Party must
    24

    25   return all Protected Material to the Producing Party or destroy such material. As
    26
         used in this subdivision, “all Protected Material” includes all copies, abstracts,
    27
         compilations, summaries, and any other format reproducing or capturing any of the
    28
                                               16

                                                                                 App'x 43
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 17 of 20 Page ID #:163
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 46 of 110 PageID 67


     1   Protected Material. Whether the Protected Material is returned or destroyed, the

     2   Receiving Party must submit a written certification to the Producing Party (and, if
     3
         not the same person or entity, to the Designating Party) by the 60 day deadline that
     4

     5   (1) identifies (by category, where appropriate) all the Protected Material that was

     6   returned or destroyed and (2)affirms that the Receiving Party has not retained any
     7
         copies, abstracts, compilations, summaries or any other format reproducing or
     8

     9   capturing any of the Protected Material. Notwithstanding this provision, Counsel

    10   are entitled to retain an archival copy of all pleadings, motion papers, trial,
    11
         deposition, and hearing transcripts, legal memoranda, correspondence, deposition
    12

    13   and trial exhibits, expert reports, attorney work product, and consultant and expert
    14   work product, even if such materials contain Protected Material. Any such archival
    15
         copies that contain or constitute Protected Material remain subject to this
    16

    17   Protective Order as set forth in Section 4 (DURATION).
    18         14. Any violation of this Order may be punished by any and all appropriate
    19
         measures including, without limitation, contempt proceedings and/or monetary
    20

    21   sanctions.
    22   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
    23

    24    DATED: September 16, 2015                 /s/ Lewis N. Levy
                                                    LEWIS N. LEVY, Bar No. 105975
    25                                              DANIEL R. BARTH, Bar No. 274009
                                                    Levy, Ford & Wallach
    26                                              3619 Motor Avenue
                                                    Los Angeles, CA 90034
    27                                              Tel: (213) 380-3140; Fax: (213) 380-4284
                                                    Email: LLevy@lfwlawyers.com
    28                                                     DBarth@lfwlawyers.com
                                               17

                                                                                  App'x 44
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 18 of 20 Page ID #:164
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 47 of 110 PageID 68


     1                                             JEFFREY R. FREUND (Admitted pro hac
                                                   vice)
     2                                             ROBERT ALEXANDER (Admitted pro
                                                   hac vice)
     3                                             ABIGAIL V. CARTER (Admitted pro hac
                                                   vice)
     4                                             PHILIP C. ANDONIAN, Bar No. 222243
                                                   Bredhoff & Kaiser, PLLC
     5                                             805 15th Street N.W., Suite 100
                                                   Washington, D.C. 20005
     6                                             Email: jfreund@bredhoff.com
                                                          ralexander@bredhoff.com
     7                                                    acarter@bredhoff.com
                                                          pandonian@bredhoff.com
     8
                                                   Attorneys for Plaintiff
     9

    10                                             /s/ Adam Levin
    11
                                                   ADAM LEVIN, Bar No. 156773
                                                   E-mail: axl@msk.com
    12
                                                   JUSTINE LAZARUS, Bar No. 247471
                                                   E-mail: jwl@msk.com
    13
                                                   MITCHELL, SILBERBERG & KNUPP
                                                   LLP
    14
                                                   11377 West Olympic Boulevard
                                                   Los Angeles, CA 90064-1683
    15
                                                   Telephone: (310) 312-2000
                                                   Facsimile: (310) 312-3100
    16                                             Attorneys for Defendant
    17

    18   FOR GOOD CAUSE SHOWN, IT
         IS SO ORDERED.
    19
         DATED: September 21, 2015
    20                                             Judge Patrick J. Walsh
                                                   United States Magistrate Judge
    21
                                 Attestation Regarding Signatures
    22

    23         I, Lewis Levy, attest that all signatories listed, and on whose behalf the filing
    24
         is submitted, concur in the filing’s content and have authorized the filing.
    25
         DATED: September 16, 2015                       By: /s/ Lewis Levy
    26
                                                         Lewis Levy
    27

    28
                                              18

                                                                                App'x 45
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 19 of 20 Page ID #:165
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 48 of 110 PageID 69


     1                                        EXHIBIT A

     2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
     3
         I, _____________________________ [print or type full name], of
     4

     5   _________________ [print or type full address], declare under penalty of perjury

     6   that I have read in its entirety and understand the Stipulated Protective Order that
     7
         was issued by the United States District Court for the Central District of California
     8

     9   on [date] in the case of AFM v. Paramount Pictures Corporation, 2:15-cv-04302-

    10   DMG-PJW. I agree to comply with and to be bound by all the terms of this
    11
         Stipulated Protective Order and I understand and acknowledge that failure to so
    12

    13   comply could expose me to sanctions and punishment in the nature of contempt. I
    14   solemnly promise that I will not disclose in any manner any information or item
    15
         that is subject to this Stipulated Protective Order to any person or entity except in
    16

    17   strict compliance with the provisions of this Order.
    18   I further agree to submit to the jurisdiction of the United States District Court for
    19
         the Central District of California for the purpose of enforcing the terms of this
    20

    21   Stipulated Protective Order, even if such enforcement proceedings occur after
    22   termination of this action. I hereby appoint __________________________ [print
    23
         or type full name] of _______________________________________ [print or
    24

    25   type full address and telephone number] as my California agent for service of
    26
         process in connection with this action or any proceedings related to enforcement of
    27
         this Stipulated Protective Order.
    28
                                              19

                                                                                   App'x 46
Case 2:15-cv-04302-DMG-PJW Document 34 Filed 09/21/15 Page 20 of 20 Page ID #:166
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 49 of 110 PageID 70


     1   Date: ______________________________________

     2   City and State where sworn and signed: _________________________________
     3
         Printed name: _______________________________
     4

     5   Signature: __________________________________

     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
                                         20

                                                                        App'x 47
Case 2:15-cv-04302-BRO-RAO Document 1 Filed 06/08/15 Page 1 of 7 Page ID #:1
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 50 of 110 PageID 71


  1   LEWIS N. LEVY, Bar No. 105975
      DANIEL R. BARTH, Bar No. 274009
  2   Levy, Ford & Wallach
      3619 Motor Avenue
  3   Los Angeles, CA 90034
      Telephone: (213) 380-3140
  4   Facsimile: (213) 480-3284
      Email: LLevy@lfwlawyers.com
  5          DBarth@lfwlawyers.com
  6   JEFFREY R. FREUND (pro hac vice application forthcoming)
      ROBERT ALEXANDER (pro hac vice application forthcoming)
  7   ABIGAIL V. CARTER (pro hac vice application forthcoming)
      PHILIP C. ANDONIAN, Bar No. 222243
  8   Bredhoff  & Kaiser, PLLC
      805 15th Street N.W., Suite 100
  9   Washington, D.C. 20005
      Email: jfreund@bredhoff.com
 10         ralexander@bredhoff.com
            acarter@bredhoff.com
 11         pandonian@bredhoff.com
 12   Attorneys for Plaintiff
 13                            UNITED STATES DISTRICT COURT
 14                           CENTRAL DISTRICT OF CALIFORNIA
 15   AMERICAN FEDERATION OF                        CASE NO. 2:15-cv-04302
      MUSICIANS OF THE UNITED
 16   STATES AND CANADA
                                                    COMPLAINT
 17                    Plaintiff,
             v.
 18                                                 JURY TRIAL DEMANDED
      PARAMOUNT PICTURES
 19   CORPORATION,
 20                    Defendants.
 21
                                     NATURE OF THE CASE
 22
                  1.         This is an action under §301 of the Labor Management
 23
      Relations Act (“LMRA”), 29 U.S.C. § 185, for violation of a collective bargaining
 24
      agreement to which the Plaintiff American Federation of Musicians of the United
 25
      States and Canada (hereinafter “AFM”) and the Defendant Paramount Pictures
 26
      Corporation (hereinafter “Paramount”) are parties. The AFM brings this § 301
 27
      action to remedy Paramount’s violation of the terms of that agreement requiring
 28
                                                  1
 28                                         COMPLAINT
                                        CASE NO. 2:15-cv-04302            App'x 48
 28
Case 2:15-cv-04302-BRO-RAO Document 1 Filed 06/08/15 Page 2 of 7 Page ID #:2
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 51 of 110 PageID 72


  1   Paramount to employ musicians in the United States or Canada under the terms of
  2   the collective bargaining agreement to record music in connection with producing
  3   the upcoming theatrical motion picture titled Same Kind of Different As Me
  4   (“SKODAM”). SKODAM is being produced by Paramount in the United States,
  5   but was hastily scored outside of the United States or Canada in willful violation
  6   of that agreement only weeks after Paramount was named a defendant for a
  7   similar violation of the parties’ prior agreement in connection with other motion
  8   pictures produced by Paramount. This action seeks to recover breach of contract
  9   damages for Paramount’s violation of the terms of the current collective
 10   bargaining agreement, including but not limited to musician wages payable
 11   pursuant to that agreement’s terms and contributions due under the agreement to
 12   certain separate musician funds that are maintained under that agreement for the
 13   benefit of musicians represented by the AFM.
 14                            JURISDICTION AND VENUE
 15            2.        This Court has jurisdiction over this lawsuit and parties
 16   pursuant to 29 U.S.C. § 185 and 28 U.S.C. § 1331.
 17            3.        Venue lies in this District pursuant to 29 U.S.C. § 185(a) and
 18   28 U.S.C. § 1391(b).
 19                                        PARTIES
 20            4.        The Plaintiff AFM is a labor organization that represents
 21   approximately 80,000 professional musicians in the United States and Canada,
 22   including many hundreds of studio recording musicians who work to score motion
 23   pictures produced in this District and throughout the United States and Canada.
 24   The AFM is “a labor organization representing employees in an industry affecting
 25   commerce” within the meaning of the federal statute, 29 U.S.C. § 185, authorizing
 26   “[s]uits for violation of contracts” between such a labor organization and “an
 27   employer.”
 28
                                                2
 28                                       COMPLAINT
 28
                                      CASE NO. 2:15-cv-04302                App'x 49
Case 2:15-cv-04302-BRO-RAO Document 1 Filed 06/08/15 Page 3 of 7 Page ID #:3
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 52 of 110 PageID 73


  1              5.       The Defendant Paramount produces theatrical motion pictures
  2   and employs in the United States and Canada professional musicians represented
  3   by the AFM in their production. Paramount maintains its headquarters at 5555
  4   Melrose Avenue, Los Angeles, CA 90038, and engages in business on a regular
  5   basis in the Central District of California.
  6              6.       Paramount is “an employer” within the meaning of the federal
  7   statute, 29 U.S.C. § 185, authorizing “[s]uits for violation of contracts” between
  8   such an employer and “a labor organization representing employees in an industry
  9   affecting commerce.”
 10                                          FACTS
 11              7.       For many years, the AFM and Paramount have been parties to
 12   a series of collective bargaining agreements, each titled “Basic Theatrical Motion
 13   Picture Agreement.” Each of these agreements is a contract between Paramount
 14   as an employer and the AFM as a labor organization representing employee
 15   musicians within the meaning of 29 U.S.C. §185. Paramount is a “Producer” as to
 16   certain theatrical motion pictures within the terms of the Agreements. The
 17   contractual violation alleged in this Complaint occurred during the term of the
 18   current Basic Theatrical Motion Picture Agreement (hereinafter “the
 19   Agreement”), which became effective on April 5, 2015 and is set to expire April
 20   4, 2018.
 21              8.       The Agreement sets out wage and benefit terms for various
 22   defined categories of musicians, including, inter alia, instrumental and orchestral
 23   musicians who are “employed by the Producer in the State of California or
 24   elsewhere in the United States and Canada and whose services are rendered in
 25   connection with the production of theatrical motion pictures” (“Musicians”).
 26   Services “rendered in connection with the production of theatrical motion
 27   pictures” include, but are not limited to, recording music for use in connection
 28   with the production of theatrical motion pictures, and are known as “scoring.”
                                                 3
 28                                        COMPLAINT
 28
                                       CASE NO. 2:15-cv-04302                 App'x 50
Case 2:15-cv-04302-BRO-RAO Document 1 Filed 06/08/15 Page 4 of 7 Page ID #:4
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 53 of 110 PageID 74


  1            9.        The terms of the Agreement require that “[a]ll theatrical
  2   motion pictures produced by the Producer in the United States or Canada, if
  3   scored, shall be scored in the United States or Canada,” except under
  4   circumstances not present here.
  5            10.       With respect to a motion picture that is required to be scored in
  6   the United States or Canada under the terms of the Agreement, Producers are
  7   required to employ Musicians under the terms of the Agreement. The Agreement
  8   requires Producers, among other things, to provide compensation in accordance
  9   with the compensation terms specified in the Agreement. A Producer’s
 10   compensation obligations under the Agreement include, but are not limited to: (i)
 11   the obligation to make specified minimum wage and other payments; (ii) the
 12   obligation to make a specified level of contributions to the American Federation
 13   of Musicians and Employers’ Pension Fund, and various health benefit funds; and
 14   (iii) if appropriate, make contributions to the Film Musicians Secondary Markets
 15   Fund for the benefit of Musicians.
 16            11.       When a motion picture is required to be scored pursuant to the
 17   terms of the Agreement in the United States or Canada, and when Producers
 18   employ Musicians pursuant to the terms of the Agreement to perform work
 19   covered by the Agreement, each Musician’s total hours of service and total wages
 20   paid for covered work must be reported to the AFM or its affiliates. The reporting
 21   process includes, but is not limited to, submitting standardized documents known
 22   as “B forms,” which records the work performed by the Musicians, their wages,
 23   and their contributions for pension and health benefits.
 24            12.       On or about October 23, 2014, Paramount registered a
 25   copyright for SKODAM with the United States Copyright Office. Thereafter, on
 26   October 28, 2014, Paramount issued a press release announcing key casting
 27   decisions for SKODAM, inter alia, and stating that principal photography had
 28
                                                  4
 28                                         COMPLAINT
 28
                                        CASE NO. 2:15-cv-04302                App'x 51
Case 2:15-cv-04302-BRO-RAO Document 1 Filed 06/08/15 Page 5 of 7 Page ID #:5
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 54 of 110 PageID 75


  1   begun on October 27, 2014 in the state of Mississippi. During and since the same
  2   time period, Paramount has held itself out as SKODAM’s producer.
  3            13.       On December 15, 2014, the AFM sent Paramount a letter
  4   stating that as Paramount was producing SKODAM in the United States, “the
  5   AFM looks forward to the scoring of Same Kind of Different as Me pursuant to
  6   that Agreement.” Paramount did not respond to that letter, and in further
  7   communications with the AFM, provided no representation that SKODAM would
  8   be scored pursuant to the Agreement. On April 24, 2015, AFM’s representative
  9   sought, but did not receive, confirmation from Paramount’s representative that it
 10   would comply with the terms of the Agreement and score SKODAM in the United
 11   States or Canada. AFM’s representative further informed Paramount’s
 12   representative that absent such assurances the AFM would seek a preliminary
 13   injunction to enjoin the scoring. Paramount’s representative declined to provide
 14   such confirmation, but thereafter, on April 28, 2015, a different Paramount
 15   representative contacted the AFM’s General Counsel and represented to him that
 16   SKODAM had already been scored. This representation caused the AFM to
 17   refrain from seeking injunctive relief, which it believed was now moot. On
 18   information and belief, the purpose of Paramount’s representation on April 28,
 19   2015 was to cause the AFM to forego seeking injunctive relief.
 20            14.       Paramount’s representations, however, were not true. As of
 21   April 28, 2015, only a portion of the scoring for SKODAM had been completed,
 22   and the remaining scoring work was conducted and completed in Bratislava,
 23   Slovakia, on or about May 2, 2015.
 24                                CLAIMS FOR RELIEF
 25                                    COUNT ONE
 26                         Breach of Contract – 29 U.S.C. § 185
 27             15.      The allegations in Paragraphs 1 through 14 above are re-
 28   alleged and incorporated herein by reference.
                                                5
 28                                       COMPLAINT
                                      CASE NO. 2:15-cv-04302                 App'x 52
 28
Case 2:15-cv-04302-BRO-RAO Document 1 Filed 06/08/15 Page 6 of 7 Page ID #:6
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 55 of 110 PageID 76


  1             16.      With respect to the production of SKODAM, Paramount is a
  2   Producer subject to the terms of the Agreement.
  3             17.      SKODAM was produced in the United States.
  4             18.      Scoring for SKODAM was conducted outside of the United
  5   States or Canada. Additional scoring work was conducted in the United States,
  6   but not pursuant to the Agreement. With respect to the scoring of SKODAM,
  7   proper compensation and associated payments required under the Agreement were
  8   not made to or for the benefit of AFM members, and the AFM and its affiliates
  9   were not provided B Forms reflecting the number of sessions performed, the
 10   musicians used, and the payments made or due.
 11             19.      By scoring SKODAM in the manner described in paragraph
 12   18, Paramount violated and breached the terms of the agreement.
 13             20.      Paramount’s violations and breaches of the Agreement have
 14   caused financial injuries to the AFM and to the Musicians it represents, in an
 15   amount to be proven at trial.
 16

 17                                   PRAYER FOR RELIEF
 18         WHEREFORE, the AFM respectfully requests that this Court:
 19                (1) Award damages for all losses that have been suffered by the
 20                    AFM and the Musicians it represents as a result of Paramount’s
 21                    breach of contract as set out in COUNT ONE;
 22                (2) Order Paramount to make appropriate contributions to the
 23                    American Federation of Musicians and Employers’ Pension
 24                    Fund, various health benefit funds, and to the Film Musicians
 25                    Secondary Markets Fund in the amounts that that would have
 26                    been made if Paramount had not breached its obligations under
 27                    the Agreement as set forth in COUNT ONE;
 28
                                                 6
 28                                        COMPLAINT
                                       CASE NO. 2:15-cv-04302
 28                                                                          App'x 53
Case 2:15-cv-04302-BRO-RAO Document 1 Filed 06/08/15 Page 7 of 7 Page ID #:7
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 56 of 110 PageID 77


  1              (3) Order Paramount to make such other payments as may have been
  2                  required if SKODAM were scored under the terms of the
  3                  Agreement in the United States or Canada, including pre-
  4                  judgment interest; and
  5              (4) Order such other and further relief as this Court may deem
  6                  appropriate to remedy Paramount’s breach of contract and to
  7                  protect against future violations by Paramount in connection with
  8                  theatrical motion pictures produced by Paramount in the United
  9                  States or Canada.
 10                                    JURY DEMAND
 11              Plaintiff demands a trial by jury on all claims so triable.
 12
                                            Respectfully submitted,
 13
       DATED: June 8, 2015                  /S/ Lewis N. Levy
 14                                         LEWIS N. LEVY, Bar No. 105975
                                            DANIEL R. BARTH, Bar No. 274009
 15                                         Levy, Ford & Wallach
                                            3619 Motor Avenue
 16                                         Los Angeles, CA 90034
                                            Telephone: (213) 380-3140
 17                                         Facsimile: (213) 480-3284
                                            Email: LLevy@lfwlawyers.com
 18
                                                   DBarth@lfwlawyers.com
 19
                                            JEFFREY R. FREUND (pro hac vice
 20                                         application forthcoming)
                                            ROBERT ALEXANDER (pro hac vice
 21                                         application forthcoming)
                                            ABIGAIL V. CARTER (pro hac vice
 22                                         application forthcoming)
                                            PHILIP C. ANDONIAN, Bar No. 222243
 23                                         Bredhoff & Kaiser, PLLC
                                            805 15th Street N.W., Suite 100
 24                                         Washington, D.C. 20005
                                            Email: jfreund@bredhoff.com
 25                                               ralexander@bredhoff.com
                                                  acarter@bredhoff.com
 26                                               pandonian@bredhoff.com

 27

 28
                                               7
 28                                      COMPLAINT
                                     CASE NO. 2:15-cv-04302                    App'x 54
 28
            Case :15-cv-04302-DMG-PJW Document 26 Filed 08/03/15 Page 1 of 9 Page ID #:80
             Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 57 of 110 PageID 78


                  1 ADAM LEVIN (SBN 156773)
                      axl@msk.com
                  2 rus1INELAZARUS (SBN247471)
                    _ iwl@msk.com
                  3 MITCHELL SILBERBERG & KNUPP LLP
                    11377 West O]yµi"Qic Boulevard
                  4 Los Angeles, CA ~0064-1683
                    Telephone: (310) 312-2000
                  5 Facsimile: (310) 312-3100
                  6 Attorneys for Defendant
                    Paramount Pictures Corporation
                  7
                  8                          UNITED STATES DISTRICT COURT
                  9                     CENTRAL DISTRICT OF CALIFORNIA
                 10                               WESTERN DIVISION
                 11 AMERICAN FEDERATION OF                   CASE NO. 2: 15-cv-04302-DMG-PJW
                    MUSICIANS OF 1HE UNITED
                 12 STATES AND CANADA,                       DEFENDANT PARAMOUNT
                                                             PICTURES CORPORATION'S
                 13             Plaintiff,                   ANSWER TO PLAINTIFF'S
                                                             COMPLAINT
                 14       v.
                                                              Judge:   The Hon. Dolly M. Gee
                 15 PARAMOUNT PICTURES
                    CORPORATION,
                 16
                            Defendants.
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   KnuppILP
6919177.5
                                      DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
                                                                                    App'x 55
            Case :15-cv-04302-DMG-PJW Document 26 Filed 08/03/15 Page 2 of 9 Page ID #:81
             Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 58 of 110 PageID 79


                  1         Defendant Paramount Pictures Corporation ("Defendant"), by and through
                  2 its counsel, hereby answers the Complaint ("Complaint") filed by plaintiff
                  3 American Federation of Musicians of The United States and Canada ("Plaintiff'')
                  4 as follows:
                  5                               NATURE OF THE CASE
                  6         1.    Answering Paragraph 1, Defendant admits that Plaintiff purports to
                  7 invoke jurisdiction under section 301 of the Labor Management Relations Act
                  8 ("LMRA"), 29 U.S.C. § 185. Except as expressly admitted or alleged herein,
                  9 Defendant denies, generally and specifically, each and every allegation
                 10 contained in this Paragraph.
                 11                            JURISDICTION AND VENUE
                 12         2.    Answering Paragraph 2, Defendant admits that Plaintiff purports to
                 13 invoke jurisdiction under section 301 of the LMRA, 29 U.S.C. § 185, and under 28
                 14 U.S.C. § 1331. Except as expressly admitted or alleged herein, Defendant denies,
                 15 generally and specifically, each and every allegation contained in this Paragraph.
                 16         3.    Answering Paragraph 3, Defendant admits Plaintiff purports to base
                 17 venue on 29 U.S.C. § 185(a) and 28 U.S.C. § 1391(b). Except as expressly
                 18 admitted or alleged herein, Defendant denies, generally and specifically, each and
                 19 every allegation contained in this Paragraph.
                 20                                       PARTIES
                 21         4.    Answering Paragraph 4, Defendant admits that Plaintiff is a labor
                 22 organization that represents musicians in the United States and Canada. Except as
                 23 expressly admitted or alleged herein, Defendant lacks sufficient information or
                 24 belief to admit or deny the allegations in this Paragraph and, on that basis, denies,
                 25 generally and specifically, each and every allegation contained in this Paragraph.
                 26         5.    Answering Paragraph 5, Defendant admits that it maintains its main
                 27 offices at 5555 Melrose Avenue, Los Angeles, CA 90038, and that it conducts
    Mitchell     28 business within the Central District of California. It also admits that it produces
  Silberberg &
   KnuppILP
                                                                1
6919177.5
                                        DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
                                                                                               App'x 56
            Case :15-cv-04302-DMG-PJW Document 26 Filed 08/03/15 Page 3 of 9 Page ID #:82
             Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 59 of 110 PageID 80


                  1 theatrical motion pictures and that it has employed professional musicians
                  2 represented by the AFM in some of its productions. Except as expressly admitted
                  3 or alleged herein, Defendant denies, generally and specifically, each and every
                  4 allegation contained in this Paragraph.
                  5         6.    Answering Paragraph 6, Defendant admits that 29 U.S.C. § 185
                  6 pertains to "[s]uits for violation of contracts between an employer and a labor
                  7 organization representing employees in an industry affecting commerce as defined
                  8 in this chapter." Defendant also admits that it is an employer, as that term is
                  9 generally defined. Except as expressly admitted or alleged herein, Defendant
                 10 denies, generally and specifically, each and every allegation contained in this
                 11 Paragraph.
                 12                                        FACTS
                 13         7.    Answering Paragraph 7, Defendant admits that it, among others, and
                 14 Plaintiff are and have been parties to a collective bargaining agreement, titled
                 15 "Basic Theatrical Motion Picture Agreement" (hereinafter "Agreement"). The
                 16 most recent Agreement became effective on April 5, 2015 and is set to expire April
                 17 4, 2018. Defendant further admits that it has been a "Producer" as to certain
                 18 theatrical motion pictures within the terms of the Agreement. Defendant expressly
                 19 denies that it violated the Agreement. Except as expressly admitted, denied, or
                 20 alleged herein, Defendant lacks sufficient information or belief to admit or deny
                 21 the allegations in this Paragraph and, on that basis, denies, generally and
                 22 specifically, each and every allegation contained in this Paragraph.
                 23         8.    Answering Paragraph 8, Defendant alleges that the provisions of the
                 24 Agreement speak for themselves. Except as expressly admitted or alleged herein,
                 25 Defendant denies, generally and specifically, each and every allegation contained
                 26 in this Paragraph.
                 27         9.    Answering Paragraph 9, Defendant admits that Section 3 of the
    Mitchell     28 Agreement states as follows: "All theatrical motion pictures produced by the
  Silberberg &
   KnuppILP
                                                               2
6919177.5
                                         DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
                                                                                              App'x 57
            Case :15-cv-04302-DMG-PJW Document 26 Filed 08/03/15 Page 4 of 9 Page ID #:83
             Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 60 of 110 PageID 81


                  1 Producer in the United States or Canada, if scored, shall be scored in the United
                  2 States or Canada.,, Except as expressly admitted or alleged herein, Defendant
                  3 denies, generally and specifically, each and every allegation contained in this
                  4 Paragraph.
                  5         10.   Answering Paragraph 10, Defendant alleges that the provisions of the
                  6 Agreement speak for themselves. Except as expressly admitted or alleged herein,
                  7 Defendant denies, generally and specifically, each and every allegation contained
                  8 in this Paragraph.
                  9         11.   Answering Paragraph 11, Defendant alleges that the provisions of the
                 10 Agreement speak for themselves. Except as expressly admitted or alleged herein,
                 11 Defendant denies, generally and specifically, each and every allegation contained
                 12 in this Paragraph.
                 13         12.   Answering Paragraph 12, Defendant alleges that the producer of the
                 14 motion picture "Same Kind of Different as Me,' (SKODAM) is Skodam Films,
                 15 LLC. Defendant expressly denies that it is SKODAM,s producer or that it has ever
                 16 "held itself out as SKODAM's producer." Defendant alleges that it has certain
                 17 rights to distribute SKODAM. Defendant admits that a copyright for SKODAM
                 18 was registered on or about October 23, 2014, and that it and Skodam Films, LLC
                 19 share an interest in the copyright pursuant to the parties' distribution agreement for
                 20 the motion picture. Defendant further admits that, on October 28, 2014, it issued a
                 21 press release pertaining to SKODAM, which speaks for itself. Except as expressly
                 22 admitted, denied, or alleged herein, Defendant denies, generally and specifically,
                 23 each and every allegation contained in this Paragraph.
                 24         13.   Answering Paragraph 13, Defendant admits that, on or about
                 25 December 15, 2014, Plaintiff sent Defendant a letter pertaining to the scoring of
                 26 SKODAM. The letter speaks for itself. Defendant further admits that, on or about
                 27 April 24, 2015, Plaintiff's representative informed Defendant that it intended to
    Mitchell     28 seek a preliminary injunction requiring that SKODAM be scored by Plaintiff's
  Silberberg &
   KnuppILP
                                                               3
6919177.5
                                         DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
                                                                                              App'x 58
            Case :15-cv-04302-DMG-PJW Document 26 Filed 08/03/15 Page 5 of 9 Page ID #:84
             Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 61 of 110 PageID 82


                  1 members. Defendant also admits that, on or about April 28, 2015, its outside legal
                  2 counsel informed Plaintiff's representatives that it was his understanding that
                  3 SKODAM had already been scored. Except as expressly admitted or alleged
                  4 herein, Defendant denies, generally and specifically, each and every allegation
                  5 contained in this Paragraph.
                  6         14.   Answering Paragraph 14, Defendant denies, generally and
                  7 specifically, each and every allegation contained in this Paragraph.
                  8                                CLAIMS FOR RELIEF
                  9                                    COUNT ONE
                                                     Breach of Contract -
                 10                                    29 U.S.C. § 185
                 11         15.   Answering Paragraph 15, Defendant re-alleges and incorporates by
                 12 reference each and every answer set forth above as though fully set forth herein.
                 13         16.   Answering Paragraph 16, Defendant denies, generally and
                 14 specifically, each and every allegation contained in this Paragraph.
                 15         17.   Answering Paragraph 17, Defendant admits and alleges, upon
                 16 information and belief, that SKODAM was produced by Skodam Films, LLC in
                 17 the United States.
                 18         18.   Answering Paragraph 18, Defendant admits, upon information and
                 19 belief, that scoring for SKODAM was partially conducted outside of the United
                 20 States or Canada. Defendant further admits, upon information and belief, that
                 21 additional scoring was conducted in the United States and/or Canada; however, it
                 22 alleges that it does not know whether that scoring was conducted pursuant to the
                 23 Agreement. Except as expressly admitted, denied or alleged herein, Defendant
                 24 lacks sufficient information or belief to admit or deny the allegations in this
                 25 Paragraph and, on that basis, denies, generally and specifically, each and every
                 26 allegation contained in this Paragraph.
                 27         19.   Answering Paragraph 19, Defendant denies, generally and
    Mitchell     28 specifically, each and every allegation contained in this Paragraph.
  Silberberg &
   KnuppILP
                                                               4
6919177.5
                                         DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
                                                                                                App'x 59
            Case :15-cv-04302-DMG-PJW Document 26 Filed 08/03/15 Page 6 of 9 Page ID #:85
             Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 62 of 110 PageID 83


                  1           20.   Answering Paragraph 20, Defendant denies, generally and
                  2 specifically, each and every allegation contained in this Paragraph, and further
                  3 denies that Plaintiff has been injured or damaged in any sum or amount
                  4 whatsoever, or at all, by any act or omission of Defendant.
                  5                                 PRAYER FOR RELIEF
                  6           Defendant denies, generally and specifically, each and every allegation
                  7 contained therein, and further denies that Plaintiff has been injured or damaged in
                  8 any sum or amount whatsoever, or at all, by any act or omission of Defendant or
                  9 that Plaintiff is entitled to any relief whatsoever.
                 10                              AFFIRMATIVE DEFENSES
                 11           Without waiving or excusing Plaintiff's burden of proof or admitting that
                 12 any of the following are in fact defenses upon which Defendant has any burden of
                 13 proof as opposed to denials of matters as to which Plaintiff has the burden of proof,
                 14 or that Defendant has any burden of proof at all, Defendant hereby asserts the
                 15 following affirmative defenses:
                 16                           FIRST AFFIRMATIVE DEFENSE
                 17                                (Failure to State A Claim)
                 18           1.    Plaintiff's Complaint and any purported claims for relief alleged
                 19 therein fail to state a claim upon which relief may be granted against Defendant or
                 20 at all.
                 21                         SECOND AFFIRMATIVE DEFENSE
                 22                                 (Statutes of Limitations)
                 23           2.    To the extent any of the conduct complained of occurred outside the
                 24 applicable limitations period, Plaintiff's Complaint and any purported claims for
                 25 relief alleged therein are barred, in whole or in part, by the applicable state statutes
                 26 of limitations, including, but not limited to, the four-year statute of limitations
                 27 under California Code of Civil Procedure section 337. See Int'l Union, UAWv.
    Mitchell     28 Hoosier Cardinal Corp., 383 U.S. 696, 704-705 (1966).
  Silberberg &
  KnuppILP                                                 5
6919177.5
                                         DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
                                                                                                   App'x 60
            Case :15-cv-04302-DMG-PJW Document 26 Filed 08/03/15 Page 7 of 9 Page ID #:86
             Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 63 of 110 PageID 84


                  1                          THIRD AFFIRMATIVE DEFENSE
                  2                               (Laches/Waiver/Estoppel)
                  3         3.     Plaintiff's Complaint and any purported claims for relief alleged
                  4 therein are barred, in whole or in part, by the doctrines oflaches, waiver, and/or
                  5 estoppel.
                  6                        FOURTH AFFIRMATIVE DEFENSE
                  7                                    (Unclean Hands)
                  8         4.     Plaintiff's Complaint and any purported claims for relief alleged
                  9 therein are barred, in whole or in part, by the doctrine of unclean hands.
                 10                          FIFTH AFFIRMATIVE DEFENSE
                 11                             (Failure to Exhaust Remedies)
                 12         5.     Plaintiff's Complaint and any purported claims for relief alleged
                 13 therein are barred because Plaintiff failed to exhaust its administrative and/or
                 14 contractual remedies available to its claims herein and the persons against whom it
                 15 has brought them.
                 16                          SIXTH AFFIRMATIVE DEFENSE
                 17               (Res Judicata/ Collateral Estoppel/ Settlement/ Release)
                 18         6.     Plaintiff's Complaint and any purported claims for relief alleged
                 19 therein are barred, in whole or in part, by the doctrines of res judicata, collateral
                 20 estoppel, settlement, and/or release.
                 21                        SEVENTH AFFIRMATIVE DEFENSE
                 22                 (No Damaees/ No Injury In Fact/ Lack of Causation)
                 23         7.     Plaintiff has not suffered any damages or injury in fact by reason of
                 24 any act or omission by Defendant. The Complaint and any purported claims for
                 25 relief alleged therein are barred, in whole or in part, because Plaintiff did not suffer
                 26 any actual injury by reason of any of Defendant's acts, conduct, or omissions as
                 27 alleged in the Complaint and/or any alleged injury was not causally related to any
    Mitchell     28 of Defendant's acts, conduct, or omissions, as alleged in the Complaint.
  Silberberg &
   KnuppILP
                                                                6
6919177.5
                                        DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
                                                                                                 App'x 61
            Case :15-cv-04302-DMG-PJW Document 26 Filed 08/03/15 Page 8 of 9 Page ID #:87
             Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 64 of 110 PageID 85


                  1                        EIGHTH AFFIRMATIVE DEFENSE
                  2                              (Not Employer of Record)
                  3         8.    Plaintiff's breach of contract claim is barred because Defendant is not,
                  4 nor has it ever been, the "Producer" of the motion picture SKODAM as that term is
                  5 defined in the Agreement. Accordingly, it is not the employer of record and,
                  6 therefore, is not responsible for any alleged breach.
                  7                         NINTH AFFIRMATIVE DEFENSE
                  8                    (Lack of Jurisdiction I Primary Jurisdiction)
                  9         9.    Plaintiff's Complaint and any purported claims for relief alleged
                 10 therein are barred, in whole or in part, because the Court lacks jurisdiction and/or
                 11 under the doctrine of primary jurisdiction.
                 12                        TENTH AFFIRMATIVE DEFENSE
                 13                                (Reservation of Rights)
                 14         10.   Defendant does not presently know all of the facts and circumstances
                 15 respecting Plaintiff's claims. Defendant reserves the right to assert additional
                 16 defenses and affirmative defenses as they become known.
                 17
                 18
                 19
                 20
                 21
                 22         WHEREFORE, Defendant prays for judgment as follows:
                 23         1.    That Plaintiff take nothing by way of the Complaint, and that the same
                 24 be dismissed with prejudice on the merits;
                 25         2.    That judgment be entered in favor of Defendant and against Plaintiff;
                 26         3.    That Defendant be awarded reasonable attorneys' fees and costs of
                 2 7 suit herein, as provided by law; and
    Mitchell     28
  Silberberg &
   KnuppILP
                                                               7
6919177.5
                                       DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
                                                                                                App'x 62
            Case :15-cv-04302-DMG-PJW Document 26 Filed 08/03/15 Page 9 of 9 Page ID #:88
             Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 65 of 110 PageID 86


                  1        4.    That Defendant be granted such further and other relief as the Court
                  2 deems just and proper.
                  3
                  4 DATED: AUGUST 3, 2015               ADAM LEVIN
                                                        JUSTINE LAZARUS
                  5                                     MITCHELL SILBERBERG & KNUPP LLP
                  6
                  7                                     By: Isl Adam Levin
                  8                                           Adam Levin
                                                              Justine Lazarus
                  9                                           Attorneys for Defendant
                                                              Paramount Pictures Corporation
                 10
                 11
                 12
                 13
                 14
                 15
                 16
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   KnuppILP
                                                             8
6919177.5
                                      DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT
                                                                                            App'x 63
Case 2: 5-cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 1 of 17 Page ID #:108
    1 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 66 of 110 PageID 87
  Case
    2
    3

    4

    5

    6

    7

    8                      UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
    9

    10 AMERICAN FEDERATION OF                    CASE NO:
       MUSICIANS OF THE UNITED                   2:15-cv-04302-DMG-PJW
    11 STATESANDCANADA
    12                Plaintiff(s),              SCHEDULING AND CASE
                                                 MANAGEMENT ORDER RE
    13       v.                                  JURY TRIAL
    14 PARAMOUNT PICTURES
       CORPORATION
    15

    16
                     Defendant(s).
    17

    18        PLEASE READ THIS ORDER CAREFULLY. IT DIFFERS IN SOME
    19   RESPECTS FROM THE LOCAL RULES.
    20       SEE THE LAST PAGE OF TWS OBDER FOR THE SCHEDULED
    21   DATES.
    22        The term "Counsel," as used in this Order, includes parties appearing
    23   prose.
    24        The Court has scheduled the dates set forth on the last page of this Order

    25   after review of the parties' Joint Scheduling Conference Report. Therefore, the

    26   Court deems a Scheduling Conference unnecessary and hereby vacates the
    27   hearing. Where possible, the Court has implemented the parties' suggested dates

    28   with some adjustments to better accommodate the Court's calendar and

                                                                                  App'x 64
                                                -1-
Casef : 5-cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 2 of 17 Page ID #:109
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 67 of 110 PageID 88
         procedures. The dates and requirements set forth in this Order are firm. The
    2
         Court is unlikely to grant continuances, even if stipulated by the parties, unless the
    3    parties establish good cause through a proper showing.
    4    I.   JOINPER OF PARTIES/AMENDMENT OF PLEADINGS

    5         All motions to add parties or to amend the pleadings must be noticed to be
    6    heard on or before the specified deadline in the attached schedule. All unserved
    7    parties will be dismissed at the time of the pretrial conference pursuant to Local
    8    Rule 16-8.l.
    9    II. DISCOVERY AND DISCOVERY CUT-OFF
    10        A.     Non-Expert Discovery
    11        All non-expert discovery shall be completed by the non-expert discovery
    12   cut-off date. TfilS IS NOT THE DATE BY WIIlCH DISCOVERY
    13   REQUESTS OR DISCOVERY MOTIONS MUST BE FILED AND
    14   SERVED; IT IS THE DATE BY WHICH ALL DISCOVERY, INCLUDING
    15   ALL HEARINGS ON ANY BELATED MOTIONS, IS TO BE
    16   COMPLETED. In an effort to provide further guidance to the parties, the Court
    17   notes the following:
    18        1.     De.positions. All depositions shall be scheduled to commence
    19   sufficiently in advance of the discovery cut-off date to permit their completion and

    20   to permit the deposing party enough time to bring any discovery motions
    21   concerning the deposition prior to the cut-off date. Given the requirements of
    22   notice and "meet and confer," that means that in most cases a planned motion to
    23   compel would have to be discussed with opposing counsel approximately six
    24   weeks before the cut-off.
    25        2.     Written Djscovecy. All interrogatories, requests for production of

    26   documents, and requests for admissions shall be served sufficiently in advance of
    27   the discovery cutoff date to permit the discovering party enough time to challenge
    28   (via motion practice) responses deemed to be deficient.

                                                -2-                                 App'x 65
Case 2: 5-cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 3 of 17 Page ID #:110
    1 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 68 of 110 PageID 89
  Case        3.    Discovery Motions. Whenever possible, the Court expects the parties
    2    to resolve discovery problems among themselves in a courteous, reasonable, and
    3    professional manner. If they do so, resort to the Court for guidance in discovery is
    4    seldom necessary. Any motion challenging the adequacy of responses to

    5    discovery must be filed, served and calendared sufficiently in advance of the

    6    discovery cut-off date to permit the responses to be obtained before that date, if
    7    the motion is granted.
    8         B.     Expert Discovery
    9         All disclosures must be made in writing. The parties should begin expert
    10   discovery shortly after the initial designation of experts. The final pretrial
    11   conference and trial dates will not be continued merely because expert discovery is
    12   not completed. Failure to comply with these or any other orders concerning expert

    13   discovery may result in the expert being excluded as a witness.
    14   III. MOTIONS AND MOTION CUT-OFF
    15       The Court has established a cut-off date for the filing and service of motions
    16   for the Court's law and motion calendar. Counsel should consult the Court's
    17   Standing Order, provided at the commencement of this action, to determine the
    18   Court's requirements concerning motions. Counsel also may consult the Court's
    19   website at www.cacd.uscourts.gov>Judges' Procedures and Schedules>Hon. Dolly

    20   M. Gee for further information regarding motion procedures.
    21   IV. SETTLEMENT PROCEDURES
    22       A settlement procedure must be identified in every case pursuant to General
    23   Order 11-10, § 5.1 and Local Rule 16-15 et seq. If counsel have received a Notice
    24   to Parties of Court-Directed ADR Program (ADR-08), the case will be
    25   presumptively referred to the Court Mediation Panel or to private mediation,

    26   unless the parties specify otherwise. See General Order 11-10, § 5 .1. Counsel
    27   must complete a settlement conference no later than the date set by the Court at the
    28   scheduling conference. Not to the exclusion of other procedures, the available

                                                 -3-                                      App'x 66
Case 2: 5-cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 4 of 17 Page ID #:111
    1 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 69 of 110 PageID 90
  Case   alternatives include:
    2             ( 1) a settlement conference before the magistrate judge
    3                   assigned to the case;
    4             (2) a settlement conference or mediation before

    5                   an attorney selected from the Attorney

    6                   Settlement Panel;
    7             (3) the employment (at the parties' expense) of

    8                   a private judge, mediator, or arbitrator.
    9        The Court will consider holding a settlement conference at the request of
    10   the parties injury trial cases, provided that (a) the parties are satisfied that the fact
    11   issues in the case will be tried by a jury; (b) all significant pre-trial rulings which
    12   the Court must make have been made; and (c) the parties desire Judge Gee to

    13   conduct the conference, understanding that if settlement fails, she will preside over
    14   trial of the case.

    15       The parties must file a Status Report regarding settlement at the time they
    16   lodge the proposed final pretrial conference order. This Report shall not disclose
    17   the parties' settlement positions, i.e., the terms of any offers or demands. It shall
    18   merely describe the efforts made by the parties to resolve the dispute informally,
    19   i.e. the occasions and dates when the parties participated in mediation or

    20   settlement conferences. The Status Report shall also include the name of the
    21   Settlement Officer who assisted the parties with their settlement conference.
    22       No case will proceed to trial unless all parties, including the principals of all
    23   corporate parties, have appeared personally at a settlement conference.
    24   V. FINAL PRETRIAL CONFERENCE

    25       A.      A final pretrial conference date has been set pursuant to Rule 16 of

    26   the Federal Rules of Civil Procedure and Local Rule 16-8. Unless excused for
    27   good cause, each party appearing in this action shall be represented at the final
    28   pretrial conference by the attorney who is to serve as lead trial counsel. Counsel

                                                  -4-                                      App'x 67
Casef : 5-cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 5 of 17 Page ID #:112
  Case 3:15-mc-00122-M-BN
          should be prepared to Document   3 Filed 11/06/15
                                discuss streamlining             Page 70 of
                                                     the trial, including   110 PageID
                                                                          presentation of 91
     2    testimony by deposition excerpts or summaries, time limits, stipulations as to
     3    undisputed facts, and qualification of experts by admitted resumes.
     4          B.     Local Rule 16 Filings

     5          Carefully prepared memoranda of contentions of fact and law, witness lists,

     6    joint exhibit list, and a proposed final pretrial conference order shall be submitted

     7    in accordance with the Local Rules, and the format of the proposed final pretrial

     8    conference order shall conform to the format set forth in Appendix A to the Local

     9    Rules. Failure of these documents to comply with these requirements may result

     10   in the final pretrial conference being taken off-calendar or continued, or in other

     11   sanctions.

     12         c.     Joint Trial Witness Time Estimate Form

     13         The parties will prepare a Joint Trial Witness Time Estimate form in

     14   substantially the format as the sample at "Attachment A" herein.
     15         D.     Pretrial Exhibit Stipulation

     16         The parties shall prepare a pretrial exhibit stipulation that shall contain

     17   each party's numbered list of all trial exhibits, with objections, if any, to each

     18   exhibit including the basis of the objection and the offering party's brief

     19   response. All exhibits to which there is no objection shall be deemed admitted,

     20   provided that the exhibit is offered as evidence at trial either through a

     21   relevant witness or pursuant to the parties' written stipulation for admission

     22   of the exhibit without witness testimony. The parties shall stipulate to the

     23   authenticity and foundation of exhibits whenever possible, and the pretrial exhibit

     24   stipulation shall identify any exhibits to which authenticity and/or foundation have

     25   not been stipulated and the specific reasons for the parties' failure to stipulate.

     26   Ill
     27   Ill
     28   Ill
                                                                                         App'x 68
                                                   -5-
Casef : 5-cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 6 of 17 Page ID #:113
  Case 3:15-mc-00122-M-BN      Document
              The pretrial exhibit         3 Filed
                                   stipulation shall 11/06/15   Pagein71the
                                                     be substantially     of following
                                                                             110 PageID    92
                                                                                       form:
     2                                     Pretrial E1hjbjt Stipulation
     3        PlaintitI(I)'/Defendant(I)' Exhibits
              Exhibit No. Description HObjection. State Grounds Re511onse to Objection
     4

     5         The pretrial exhibit stipulation shall be filed at the same time counsel lodge the
     6    proposed pretrial conference order. Failure to comply with this paragraph could be
     7    deemed to constitute a waiver of all objections. Do not submit blanket or
     8    boilerplate objections to the opposing party's exhibits. These will be disregarded
     9    and overruled.
     10        E.      Proposed Final Pretrial Conference Order

     11        The form of the proposed final pretrial conference order shall comply with

     12   Appendix A to the Local Rules. In drafting the proposed final pretrial conference

     13   order, the Court expects that the parties will attempt to agree on and set forth as

     14   many non-contested facts as possible. The Court will usually read the uncontested

     15   facts to the jury at the start of trial. A carefully drafted and comprehensively

     16   stated stipulation of facts will reduce the length of trial and increase jury

     17   understanding of the case. In specifying the claims and defenses under Section 7

     18   of the proposed final pretrial conference order, each party shall closely follow the

     19   examples set forth in Appendix A of the Local Rules. As those examples

     20   demonstrate, the parties should attempt to state issues in terms of the elements of

     21   the claims or defenses (ultimate facts), not in the form of evidentiary fact issues.

     22   The elements to most claims and defenses can be found in the model jury

     23   instructions. Counsel are reminded that the purpose of this section is to focus and

     24   clarify the issues to be presented at trial, not to provide legal arguments in support

     25   of each side's respective positions. Legal arguments may be presented in the

     26   parties' memoranda of contentions of fact and law.
     27        F.      Agreed Statement of the Case

     28        The parties shall jointly prepare an objective, non-argumentative statement

                                                     -6-                                     App'x 69
Case 2: 5-cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 7 of 17 Page ID #:114
    1 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 72 of 110 PageID 93
  Case   of the case which the Court shall read to all prospective jurors at the beginning of
    2     voir dire. The statement usually should not be longer than one or two paragraphs.
     3         G.      Due Dates
    4          The memoranda of contentions of fact and law, witness lists, joint exhibit

     5    list, pretrial exhibit stipulation, joint trial witness time estimate form, and

     6    proposed final pretrial conference order are due not later than twenty-one (21)
     7    days before the final pretrial conference, unless otherwise ordered by the Court.
     8         H.      Other Documents
     9         Other documents to be filed in preparation for, and issues to be addressed at,
     10   the final pretrial conference are discussed below.
     11   VI. ADDITIONAL TRIAL PREPARATION

     12        A.      Motions In Limine

     13        All motions in limine must be filed at least twenty-one (21) days before the
     14   fmal pretrial conference. Each motion should be separately filed and numbered
     15   sequentially. Counsel are to meet and confer with opposing counsel to determine
     16   whether opposing counsel intends to introduce the disputed evidence, and to
     17   attempt to reach an agreement that would obviate the motion. Opposition must be
     18   filed fourteen days before the final pretrial conference. Reply briefs will not be
     19   accepted without leave of the Court. The Court generally will rule on motions in

    20    limine at the fmal pretrial conference. Motions in limine should address specific
    21    issues (i.e., not "to exclude all hearsay," etc.). Motions in limine should not be
    22    disguised motions for summary adjudication of issues.
    23         The Court limits the number of in limine motions which a party or group of
    24    affiliated parties may file to four, not including (1) any in limine motion which
    25    seeks an exclusionary sanction under Rule 37(c)(l) of the Federal Rules of Civil

    26    Procedure and (2) any in limine motion which invokes the Court's power under
    27    Rule 702 of the Federal Rules of Evidence and Daubert v. Merrell Dow
    28    Pharmaceuticals, 509 U.S. 579, 597 (1993), to exclude or limit expert testimony.

                                                                                            App'x 70
                                                   -7-
Case 2: 5-cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 8 of 17 Page ID #:115
    1 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 73 of 110 PageID 94
  Case   Motions made on the latter two grounds shall prominently state the basis for the
    2     motion in the title of the motion on the caption page. Any party desiring to tender
    3     any other in limine motions beyond those permitted above shall file an ex parte
    4     application no later than seven days prior to the due date for such motions,

    5     attaching the proposed motion and making a showing why it is imperative that the

    6     issue be dealt with by a motion in limine.
    7          B.      Jury Instructions, Special Verdict Forms, Voir Dire, Jury
    8                 Selection
    9          1.     Fourteen (14) days before the meeting of counsel required by Local
    10    Rule 16-2, plaintiff shall serve plaintiffs proposed jury instructions and special
    11    verdict forms, and defendant shall serve defendant's proposed jury instructions
    12    and special verdict forms as to any affirmative defenses, counterclaims, etc.

    13    Within ten (10) days, each shall serve objections to the other's instructions and
    14    verdict forms. Before or at the Rule 16-2 meeting, counsel are ordered to meet
    15    and confer and attempt to come to agreement on the proposed jury instructions
    16    and verdict forms.

    17         2.     When the Manual ofModel Jury Instructions for the Ninth Circuit
    18   provides an applicable jury instruction, the parties should submit the most recent
    19    version, modified and supplemented to fit the circumstances of this case. Where

    20    language appears in brackets, the appropriate language should be selected. All
    21   blanks should be completed. Where California law applies, counsel should use the
    22    current edition of California Jury Instructions - Civil ("CACI"). If neither of
    23    these model instructions is applicable, counsel should consult the current edition
    24    ofO'Malley, et al., Federal Jury Practice and Instructions. Each requested
    25    instruction shall (a) cite the authority or source of the instruction, (b) be set forth

    26    in full, (c) be on a separate page, (d) be numbered, (e) cover only one subject or
    27   principle oflaw, and (f) not repeat principles of law contained in any other
    28    requested instruction.

                                                                                           App'x 71
                                                   -8-
Case 2: 5-cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 9 of 17 Page ID #:116
    1 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 74 of 110 PageID 95
  Case        Counsel may submit alternatives to these instructions only if counsel has a
    2     reasoned argument that they do not properly state the law or they are incomplete.
    3          As the Court uses the following standard preliminary instructions, the
    4    parties need not submit them (unless they wish to request that the Court deviate

    5     from them or to fill in substantive information such as in the "Claims and

    6     Defenses" instruction): 1.IB (Duty of Jury), 1.2 (Claims and Defenses), 1.3
    7     (Burden of Proof - Preponderance of the Evidence); 1.5 (Two or More Parties -
    8     Different Legal Rights); 1.6 (What is Evidence); 1.7 (What is Not Evidence); 1.8
    9     (Evidence for Limited Purpose); 1.9 (Direct and Circumstantial Evidence); 2.11
    10    (Expert Opinion); 1.10 (Ruling on Objections); 1.11 (Credibility of Witnesses);
    11    1.12 (Conduct of the Jury); 1.13 (No Transcript Available to Jury); 1.14 (Taking
    12    Notes); 1.18 (Bench Conferences and Recesses); and 1.19 (Outline of Trial).

    13         3.     At the time of filing the proposed final pretrial conference order,
    14    counsel shall file with the Court a JOINT set of jury instructions on which there is
    15    agreement. All blanks in standard forms should be filled in. The Court expects
    16    counsel to agree on the substantial majority of jury instructions, particularly when
    17   pattern or model instructions provide a statement of applicable law. If one party
    18    fails to comply with the provisions of this section, the other party must file a
    19    unilateral set of jury instructions, unless that party wishes to waive jury trial.

    20         4.     At the same time, each party shall file its proposed jury instructions
    21    that are objected to by any other party. Each disputed instruction must have
    22    attached a short (one or two paragraph) statement, including points and authorities
    23    in support of the instruction as well as a brief (one or two paragraph) statement,
    24    including points and authorities, in support of any objections. A proposed
    25    alternative instruction must be provided, if applicable. If the Court believes that

    26    there are so many disputed instructions that the trial would be unnecessarily
    27    interrupted in order for the Court to resolve disputes, the Court may determine that
    28    the matter is not yet ready to be tried, and may order counsel to continue to meet

                                                                                           App'x 72
                                                   -9-
Case f:  -cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 10 of 17 Page ID #:117
   Case 3:15-mc-00122-M-BN
           and confer until most Document   3 Filed
                                 of the disputes      11/06/15 Page 75 of 110 PageID 96
                                                 are resolved.
     2         5.     Counsel must provide the documents described in paragraphs 3 and 4
     3    on a disk in Word or WordPerfect 9 (or above) format at the time they file their
     4    proposed jury instructions.

     5         6.     The Court will send one or more copies of the instructions into the

     6    jury room for the jury's use during deliberations. Therefore, in addition to the
     7    copies described above, the disk must contain a "clean" set ofjury instructions,
     8    containing only the text of the instruction (one per page) with the caption
     9    "Instruction No._" at the top (eliminating titles, supporting authority, etc.).
     10        7.     Counsel must provide an index of all instructions submitted, which
     11   must include the following:
     12               a. The number of the instruction;

     13               b. The title of the instruction;

     14               c. the source of the instruction and any relevant case citations;
     15               d. The page number of the instruction.
     16   For example:

     17        Number                Title                 Source             ~
     18        1            Trademark - Defined           9th Cir. 15.3.2     7

     19                     (15   u.s.c. § 1127)
     20        8.     FAILURE TO FOLLOW THE PRECEDING PROVISIONS OF
     21   TIDS SECTION WILL SUBJECT THE NON-COMPLYING PARTY
     22   AND/OR ATTORNEY TO SANCTIONS AND WILL BE DEEMED TO
     23   CONSTITUTE AWAIVER OF JURY TRIAL.

     24        9.     During the trial and before argument, the Court will meet with
     25   counsel and settle the instructions, and counsel will have an opportunity to make a

     26   further record concerning their objections.
     27        10.    At the time of filing the proposed final pretrial conference order,
     28   counsel should file a jointly prepared one or two page statement of the case to be

                                                                                          App'x 73
                                                   -10-
Case f:  -cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 11of17 Page ID #:11
   Case 3:15-mc-00122-M-BN       Document  3 Filed
          read by the Court to the prospective panel11/06/15    Page commencement
                                                     of jurors before 76 of 110 PageID  97
                                                                                    of voir
     2    dire.
     3            11.   The Court will conduct the voir dire. The Court provides a list of
     4    basic questions, and may provide a list of additional questions to jurors before voir

     5    dire. (This is not a questionnaire to be completed by jurors.) Counsel may, but are

     6    not required to, submit a list of proposed case-specific voir dire questions at the
     7    time they file the proposed fmal pretrial conference order.
     8            12.   Generally, the Court will select seven or eight jurors. Each side will
     9    have three peremptory challenges. If fourteen jurors are seated in the box and all
     10   six peremptories are exercised, the remaining eight jurors will constitute the jury
     11   panel. If fewer than six peremptories are exercised, the eight jurors in the lowest
     12   numbered seats will be the jury. The Court will not necessarily accept a

     13   stipulation to a challenge for cause. If one or more challenges for cause are
     14   accepted, and all six peremptories are exercised, the Court may decide to proceed
     15   with six or seven jurors.
     16           c.    Trial Exhibits

     17           1.    Counsel are to prepare their exhibits for presentation at the trial by
     18   placing them in tabbed binders indexed by exhibit number with exhibit tags placed
     19   consistently on the top or bottom right comer. Counsel shall submit to the Court

     20   an original and one copy of the binder. The exhibits shall be in three-ring binders
     21   labeled on the spine portion of the binder as to the volume number and contain an
     22   index of each exhibit included in the volume. Exhibits must be numbered in
     23   accordance with Local Rule 16-6.

     24           2.    The Court requires that the following be submitted to the courtroom
     25   deputy clerk on the first day of trial:

     26                 a. One binder of oriiinal exhibits with the Court's exhibit tags,
     27   yellow tags for plaintiff and blue tags for defendant, affixed to the front of the
     28   exhibit on the upper or lower right-hand comer with the case number, case name,

                                                    -11-                                    App'x 74
Case f:  -cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 12 of 17 Page ID #:11
   Case 3:15-mc-00122-M-BN     Document  3 tag.
                                            Filed 11/06/15 Page 77 of 110 PageID 98
          and exhibit number placed on each
    2                 b. One binder with a ~ of each exhibit tabbed with exhibit
     3    numbers as described above for use by the Court.
    4                 c. Three copies of joint exhibit list.   See~   14(b) of Judge Gee's

     5    Procedures and Schedules on the Central District of California's website for a
     6    sample format for the joint exhibit list.
     7                d. Three copies of witness lists in the order in which the witnesses
    8     expect to be called to testify.
     9         3.     Where a significant number of exhibits will be admitted, the Court
     10   encourages counsel, preferably by agreement, to consider ways in which testimony
     11   about exhibits may be made intelligible to the jury while it is being presented.
     12   Counsel may consider such devices as overhead projectors, jury notebooks for

     13   admitted exhibits, or enlargements of important exhibits. The Court has an Elmo
     14   and other equipment available for use during trial. Call the Courtroom Deputy
     15   Clerk if you wish to visit when the Court is not in session to practice using the
     16   equipment. The Court does not permit exhibits to be "published" by passing them
     17   up and down the jury box. Exhibits may be displayed using the screen in the
     18   courtroom, only if the process does not become too time-consuming.

     19        D.      Jury Trial

    20         On the first day of trial, court will commence at 8:30 a.m. and conclude at
    21    approximately 4:00 p.m. On the first day of trial counsel must appear at 8:30 a.m.
    22    to discuss preliminary matters with the Court. The jury panel will be called when
    23    the Court is satisfied that the matter is ready for trial. Except in rare situations,
    24    jury selection usually takes only a couple of hours. Counsel should be prepared to
    25    proceed with opening statements and witness examination immediately after jury

    26    selection. After the first day of trial, trial days continue every day from 9:00 a.m.
    27    to approximately 4:00 p.m. with two fifteen-minute breaks and a 75-minute lunch
    28    break, unless otherwise ordered by the Court.

                                                                                          App'x 75
                                                  -12-
Casef:   -cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 13 of 17 Page ID #:12
   Case 3:15-mc-00122-M-BN
          VII. CON»UCT OFDocument  3 Filed
                           ATTOBNEYS       11/06/15
                                         AND  PARTIESPage 78 of 110 PageID 99
    2         A.     Opening Statements, Examining Witnesses, and Summation
    3         1.     Counsel must use the lectern for opening statements, examination of
    4    witnesses, and summation.

    5         2.     Counsel must not consume time by writing out words, drawing charts

    6    or diagrams, etc. Counsel may do so in advance and explain that the item was
    7    prepared earlier as ordered by the Court to save time.
    8         3.     The Court will honor (and may establish) reasonable time estimates
    9    for opening and closing arguments, examination of witnesses, etc.
    10        B.     Objections To Questions
    11        1.     Counsel must not use objections for the purpose of making a speech,
    12   recapitulating testimony, or attempting to guide the witness.

    13        2.     When objecting, counsel must rise to state the objection and state
    14   only that counsel objects and the concise legal ground of objection. If counsel
    15   wishes to argue an objection further, counsel must ask for permission to do so.
    16        c.     General Decorum

    17        1.     Counsel should not approach the witness box without specific
    18   permission. Counsel should not question a witness at the witness stand.

    19        2.     Counsel should rise when addressing the Court, and when the jury

    20   enters or leaves the courtroom.
    21        3.     Any request for the re-reading of questions or answers shall be
    22   addressed to the Court. Such requests should be limited.
    23        4.     Counsel should not talk to jurors at all, and should not talk to co-
    24   counsel, opposing counsel, witnesses or clients where the conversation can be
    25   overheard by jurors. Each counsel should admonish counsel's own clients and

    26   witnesses to avoid such conduct.
    27        5.     Where a party has more than one lawyer, only one may conduct the
    28   direct or cross-examination of a particular witness, or make objections as to that

                                                                                       App'x 76
                                                -13-
Casef:  -cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 14 of 17 Page ID #:121
  Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15 Page 79 of 110 PageID 100
          witness.
    2         D.      Promptness of Counsel and Witnesses
    3         1.     The Court makes every effort to begin proceedings at the time set.
    4    Promptness is expected from counsel and witnesses. The Court will not delay the

    5    trial or inconvenience jurors except under extraordinary circumstances.

    6         2.     If a witness was on the stand at a recess, counsel must have the
    7    witness back on the stand, ready to proceed, when the court session resumes.
    8         3.     Counsel must notify the courtroom deputy clerk in advance if any
    9    witness should be accommodated based on a disability or for other reasons.
    10        4.     Counsel should coordinate the scheduling of witnesses so that there is
    11   no delay in the calling of witnesses to the stand.

    12        5.     The Court attempts to cooperate with professional witnesses and will,

    13   except in extraordinary circumstances, accommodate them by permitting them to
    14   be called out of sequence. Counsel must anticipate any such possibility and
    15   discuss it with opposing counsel. If there is an objection, counsel must confer
    16   with the Court in advance.

    17        E.      Exhibits

    18        1.     Each counsel should maintain counsel's own list of exhibits and
    19   should note when each has been admitted into evidence (if not already admitted

    20   pursuant to the pretrial exhibit stipulation).
    21        2.     Each counsel is responsible for any exhibits that counsel secures from
    22   the courtroom deputy clerk and must return them before leaving the courtroom at
    23   the end of the session.

    24        3.     An exhibit not previously marked should, at the time of its first
    25   mention, be accompanied by a request that the courtroom deputy clerk mark it for

    26   identification. To save time, counsel must show a new exhibit to opposing
    27   counsel before it is mentioned in Court.

    28        4.     Counsel are to advise the courtroom deputy clerk of any agreements

                                                 -14-                               App'x 77
Case f: -cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 15 of 17 Page ID #:12
  Case 3:15-mc-00122-M-BN
         they have with respectDocument   3 Filed
                                to the proposed   11/06/15
                                                exhibits     Page
                                                         and as     80 ofexhibits
                                                                to those  110 PageID    101
                                                                                  that may
     2    be received so that no further motion to admit need be made.
     3         5.     When referring to an exhibit, counsel should refer to its exhibit
     4    number whenever possible. Witnesses should be asked to do the same.

     5         6.     If counsel wishes to question a witness in connection with graphic

     6    aids, the material must be fully prepared before the court session starts.
     7         F.     Depositions
     8         I.     All depositions to be used at trial, either as evidence or for

     9    impeachment, must be lodged with the courtroom deputy clerk on the first day of

     10   trial or such earlier date as the Court may order. Counsel should verify with the

     11   clerk that the relevant deposition is in the clerk's possession.

     12        2.     In using depositions of an adverse party for impeachment, either one

     13   of the following procedures may be adopted:
     14               a.     If counsel wishes to read the questions and answers as alleged

     15   impeachment and ask the witness no further questions on that subject, counsel

     16   shall first state the page and line where the reading begins and the page and line

     17   where the reading ends, and allow time for any objection. Counsel may then read

     18   the portions of the deposition into the record.

     19               b.     If counsel wishes to ask the witness further questions on the

     20   subject matter, the deposition shall be placed in front of the witness and the

     21   witness is told to read silently the pages and lines involved. Then counsel may

     22   either ask the witness further questions on the matter and thereafter read the

     23   quotations, or read the quotations and thereafter ask further questions. Counsel

     24   should have an extra copy of the deposition for this purpose.

     25        3.     Where a witness is absent and the witness's testimony is offered by

     26   deposition, counsel may (a) have a reader occupy the witness chair and read the

     27   testimony of the witness while the examining lawyer asks the questions, or (b)

     28   have counsel read both the questions and answers.

                                                                                       App'x 78
                                                 -15-
Case ~ : -cv-04302-DMG-PJW Document 31 Filed 09/15/15 Page 16of17 Page ID #:12
   Case 3:15-mc-00122-M-BN
               G.    AdvanceDocument
                             Notice of3Unusual
                                         Filed 11/06/15   Page
                                                or Difficult    81 of 110 PageID 102
                                                             Issues
     2          If any counsel has reason to anticipate that a difficult question of law or
     3     evidence will necessitate legal argument requiring research or briefmg, counsel
     4     must give the Court advance notice. Counsel are directed to notify the courtroom

     5     deputy clerk at the day's adjournment if an unexpected legal issue arises that could

     6     not have been foreseen and addressed by a motion in limine. See Fed R. Evid.
     7     103. Counsel must also advise the clerk at the end of each trial day of any issues
     8     that must be addressed outside the presence of the jury, so that there is no
     9     interruption of the trial. The Court will not keep jurors waiting.
      10        The Court appreciates counsel's anticipated cooperation and compliance

      11   with this Order.

      12
              IT IS SO ORDERED.
      13
      14 DATED: September 15, 2015
                                                     DollyM. Gee
      15                                             United States District Judge
      16

      17

      18

      19

     20
     21

     22

     23

     24

     25

     26
     27

     28
                                                                                          App'x 79
                                                  -16-
                Case 2:15-cv-04302-DMG-PJW
                  Case                      Document331Filed
                        3:15-mc-00122-M-BN Document       Filed 09/15/15 Page
                                                              11/06/15    Page8217
                                                                                 ofof 17 PageID
                                                                                    110  Page ID103
                                                                                                 #:124

                                                                      ATTACHMENT A


JOINT TRIAL WITNESS TIME ESTIMATE FORM

Case No. and Title:       ~~~~~~~~~~~~~~~~~~
                                                                                                                   Trial Date:_ _ _ _ _ _ _ __



 No.            Witness
                llNSERTWITNESSNAMEl
               Direct Examiner:                                      finsert nartv namel               Direct Exam Time Est.:
 1.
               Cross Examiner:                                       finsert nartv namel               Cross Exam Time Est.:

               Brief Description of Testimony:

                11NSERTWITNESSNAME1
               Direct Examiner:                                      finsert nartv namel               Direct Exam Time Est.:
 2.
               Cross Examiner:                                       finsert nartv namel               Cross Exam Time Est.:

               Brief Description of Testimony:

                11NSERTWITNESSNAME1
               Direct Examiner:                                      finsert nartv namel               Direct Exam Time Est.:
 3.
               Cross Examiner:                                       finsert nartv namel               Cross Exam Time Est.:

               Brief Description of Testimony:


(1) List witnesses (last name first); (2) For description, be extremely brief,.£.&,, "eyewitness to accident" or "expert on standard of care"; (3) Use estimates within
fractions of an hour, rounded off to closest quarter of an hour,..!l.,g,, if you estimate 20 minutes, make it .25. An estimate of one and one-half hours would be 1.5.
An estimate of three-quarters of an hour would be .75; (4) Note special factors in "Comments" column.a., ''Needs interpreter''; (5) Entries may be in handwriting
ifxa:x neat and legible.




                                                                                                                                                         App'x 80


                                                                                        -17-
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15   Page 83 of 110 PageID 104




                                                                          App'x 81
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                     Page 84 of 110 PageID 105



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 AMERICAN FEDERATION OF'
 MUSICIANS OF THE UNITED STATES
 AND CANADA,
                Pløíntffi
        v.

 SKODAM FILMS, LLC,
                Defendønt/Non-PørtY.



                           DECLARATION OF'PHILIP C. ANDONIAN

        I, Philip C. Andonian, pursuant to 28 U.S.C. ç 1746, declare as follows:

   1. I am an attorney     at law licensed to practice in California and in the District of Columbia.

        I am employed     as an attorney by the law   firm of Bredhoff & Kaiser, P.L.L.C. in the

        District of Columbia. I, along with other attorneys at Bredhoff & Kaiser, represent the

        American Federation of Musicians of the United States and Canada ("AFM") in

        American Federation of Musicians v. Paramount Pictures Corp., No. 2: I5-cv-04302

        (C.D.Cal.).

   2.   Attached as Exhibit A to this Declaration is a true and correct copy of a press release,

        dated October     28,20l4,that appeared on the Shoot Publicity Wire website     as of June 3,


        20t5.

   3.   Attached as Exhibit B to this Declaration is a true and correct copy of an e-mail that I

        sent to counsel   for Skodam Films on July !4,2015, regarding the fact that AFM did not

        plan on pursuing the public-records request that it had previously filed with the

        Mississippi Development Authority for documents submitted to the Mississippi Film

        Office in connection with the filming of SKODAM.

                                                      1                                       App'x 82
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                      Page 85 of 110 PageID 106



   4.      Attached as Exhibit C to this Declaration is a true and correct copy of an e-mail that I

           received from Lauren Lawhorn, counsel for Skodam Films, LLC ("Skodam Films") on

           October 20,2015.

   5.      Attached as Exhibit D is a letter sent by Ms. Lawhorn that I received on October22,

           20IS,which claimed to "raise the following objections to the Subpoena pursuant to

           Federal Rule of Civil Procedure 45."

   6.      Skodam Films did not produce any documents in response to the Subpoena on or before

           October 23,2015.

   7   .   On Octobe   r 26,2015,I participated in a meet-and-confer telephone call with Ms.

           Lawhorn and Stephen Carmody, counsel for Skodam Films. On that call, counsel for

           Skodam Films represented that they had not identified possible custodians or searched
                                                                                                 for

           or collected any potentially responsive documents from Skodam Films, and thus could

           neither produce any documents nor provide specific reasons as to how the subpoena was

           overly broad or how it imposed an undue burden on Skodam Films. On that call, I, on

           behalf of AFM, offered to extend the return date for the subpoena until November
                                                                                            6.


                                                                                     producing
           However, counsel for Skodam Films declined the offer and commiued only to

           contracts, receipts, invoices, and other similar documents to the extent Skodam Films
                                                                                                 was


           able to collect any such documents within that period. Counsel for Skodam
                                                                                     Films further

                                                                                      emails even
            stated, unequivocally, that Skodam Films would not produce any responsive

            by November 6 and would not commit to a deadline for emails going forward.

   g.                                                                                           in
            On a meet-and-confer call with counsel for Defendant Paramount Pictures Corporation

                                                                                     (A) it did not
            this Litigation on October 27,2015,counsel for Paramount made clear that

                                                                                       Films and
            have possession, custody, and control of documents in possession of Skodam


                                                                                                  App'x 83
                                                      2
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                      Page 86 of 110 PageID 107



        (B) that only Skodam Films-not Paramount-possessed many requested documents that

        relate to the production and scoring of SKODAM'

   g.                                                                                     that I sent
        Attached as Exhibit E to this Declaration is a true and correct copy of an e-mail

        to Ms. Lawhorn and Mr. Carmody on October 28,2015'

   10. Attached as    Exhibit F to this Declaration is a true and correct copy of a letter that I

        received from Ms. Lawhorn on October 30, 2015'

   I 1. Attached as   Exhibit G to this Declaration is a true and correct copy of      a letter that   I sent

        to Ms. Lawhorn on Novembet 2,2015.

   12. Attached as    Exhibit H to this declaration is a true and correct copy of a letter that I

        received from Ms. Lawhorn by e-mail on November          4,20t5,   at'   5:59 p'm' Eastern


        Standard Time.




        I declare under penalty of perjury that the foregoing statements         are true and correct to the


best of my knowledge, information, and belief,




Dated:November 6,2015

                                                                 Philip C. Andonian




                                                                                                          App'x 84
                                                     J
6/4/2015    Greg Kinnear, Renee Zellweger, Djimon Hounsou And Jon Voight To Star In Paramount Pictures’ “Same Kind of Different As Me” | SHOOTonline.com
            Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                                       Page 87 of 110 PageID 108
           Don't Miss a Post! Subscribe To SHOOT Free ePUBS Today...
                                                    Subscribe!

Wednesday, June 3, 2015




           FRONT PAGE                             NEWS                          SCREENWORK                     FORUM & NDS EVENT

 FRONT PAGE    SPW
 GREG KINNEAR, RENEE ZELLWEGER, DJIMON HOUNSOU AND JON VOIGHT TO STAR IN PARAMOUNT PICTURES’ “SAME
 KIND OF DIFFERENT AS ME”


      Tuesday, Oct. 28, 2014


                                                    Greg Kinnear, Renee Zellweger,
                                                    Djimon Hounsou And Jon Voight To
                                                    Star In Paramount Pictures’ “Same
                                                    Kind of Different As Me”
                                                    Production Began October 27th In Jackson, Mississippi
                                                    HOLLYWOOD ­­(SPW)­­ Paramount Pictures today announced that Academy

                                                    Award®­nominees Greg Kinnear and Djimon Hounsou and Academy Award®­
                                                    winners Renee Zellweger and Jon Voight will star in “SAME KIND OF
 www.paramount.com                                  DIFFERENT AS ME,” based on the best­selling nonfiction book by Ron Hall
                                                    and Denver Moore with Lynn Vincent, author of the bestselling book Heaven
Is for Real.


Michael Carney will make his directorial debut from a screenplay he co­wrote with Alexander Foard and Ron Hall. Mary
Parent and Cale Boyter will produce through Disruption Entertainment, alongside Darren Moorman, Stephen Johnson
and Ron Hall. The executive producers are Chris Bancroft, Hans Graffunder Michael Carney and Foard.


Principal photography began October 27th in Jackson, Mississippi.


“SAME KIND OF DIFFERENT AS ME” is the story of an international art dealer Ron Hall (Kinnear) who must befriend a
dangerous homeless man (Hounsou) in order to save his struggling marriage to his wife (Zellweger), a woman whose
dreams will lead all three of them on the most remarkable journey of their lives. Voight plays Hall's father, with whom he
reconciles thanks to the revelations of his new life.
                                                                                                                                     App'x 85

http://shootonline.com/spw/greg­kinnear­renee­zellweger­djimon­hounsou­and­jon­voight­star­paramount­pictures%E2%80%99­%E2%80%9Csame­kind                  1/5
6/4/2015   Greg Kinnear, Renee Zellweger, Djimon Hounsou And Jon Voight To Star In Paramount Pictures’ “Same Kind of Different As Me” | SHOOTonline.com
        Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15
About Paramount Pictures Corporation
                                                                                                   Page 88 of 110 PageID 109
Paramount Pictures Corporation (PPC), a global producer and distributor of filmed entertainment, is a unit of Viacom
(NASDAQ: VIAB, VIA), a leading content company with prominent and respected film, television and digital entertainment
brands. Paramount controls a collection of some of the most powerful brands in filmed entertainment, including Paramount
Pictures, Paramount Animation, Paramount Vantage, Paramount Classics, Insurge Pictures, MTV Films, and Nickelodeon
Movies. PPC operations also include Paramount Home Media Distribution, Paramount Pictures International, Paramount
Licensing Inc., and Paramount Studio Group.


Contact:
Brandon Nichols
Paramount
Contact Brandon via email


SPW Category: New ScreenWork Releases (commercial, film, TV, online, etc)

Tags: Paramount Pictures




SPW RELATED POSTS

                           Paramount Pictures, New Regency And Plan B Entertainment Announce Bale, Carell,
                           Gosling And Pitt Coming Aboard “The Big Short”
                           Tuesday, Apr. 21, 2015
                           Paramount Pictures, New Regency and Plan B Entertainment announced casting for “THE BIG
                           SHORT,” with Christian Bale (“AMERICAN HUSTLE,” “THE DARK KNIGHT” trilogy), Steve Carell
                           (“FOXCATCHER”), Ryan Gosling (“DRIVE,” “CRAZY, STUPID, LOVE”) and Brad



                           Paramount Pictures To Distribute “Captive” Starring David Oyelowo And Kate Mara
                           Monday, Mar. 16, 2015                                                                                                      BULLET
                           Paramount Pictures announced today that it has secured the worldwide distribution rights to
                           “CAPTIVE,” starring David Oyelowo (“SELMA”) and Kate Mara (“FANTASTIC FOUR,” “House of                                     Thursday
                           Cards”). The studio will release the film on September 18, 2015.                                                           2015 AIC

                                                                                                                                                      Wednesd
                                                                                                                                                      The 21st
                           Hula Post Production Provides Editing Gear for “Selma”
                           Thursday, Feb. 12, 2015                                                                                                    Saturday
                                                                                                                                                      Sight, So
                           Hula Post Production provided editorial systems and support to Selma, the new film from
                           Paramount Pictures, Pathé, and Harpo Films and director Ava DuVernay, chronicling t
                                                                                                                                                      Monday,
                                                                                                                                                      2015 Prim
                                                                                                                                                      Ends 5:0
                           Metro­Goldwyn­Mayer Pictures And Paramount Pictures Announce The Start Of Principal
                           Photography On “Ben­Hur”                                                                                                   Monday,
                                                                                                                                                      2015 Prim
                           Monday, Feb. 2, 2015                                                                                                       Begins
                           Metro­Goldwyn­Mayer Pictures and Paramount Pictures, a division of Viacom, Inc., announced
                           today that principal photography has begun on “BEN­HUR” starring Jack Huston (“AMERICAN                                        1 of 9
                           HUSTLE”) as Judah Ben­Hur, Morgan Freeman (“THE SHAWSHANK REDEMPTION                 App'x 86
http://shootonline.com/spw/greg­kinnear­renee­zellweger­djimon­hounsou­and­jon­voight­star­paramount­pictures%E2%80%99­%E2%80%9Csame­kind                 2/5
6/4/2015   Greg Kinnear, Renee Zellweger, Djimon Hounsou And Jon Voight To Star In Paramount Pictures’ “Same Kind of Different As Me” | SHOOTonline.com
           Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                                       Page 89 of 110 PageID 110
                                                                                                                                                      SPW CA

                           Birmingham, San Diego And Trenton, NJ, Join The Movement To Bring “Selma” To                                               Awards S
                           Students                                                                                                                   Winners)
                           Friday, Jan. 23, 2015
                                                                                                                                                      Contests
                           Birmingham, San Diego and Trenton, NJ, have joined the massive national campaign by African­
                           American business leaders to raise funds for free student admission to the Academy Award®­                                 Filmmaki
                           nominated and Golden Globe­winning film “SELMA,” expan
                                                                                                                                                      Productio
                                                                                                                                                      Services
COMMENTS
                                                                                                                                                      Talent Ag

                                                                                                                                                      General N
0 Comments               SHOOTonline                                                                                           
                                                                                                                               1     Login
                                                                                                                                                      Broadcas
 Recommend                ⤤ Share                                                                                        Sort by Newest
                                                                                                                                                          1 of 4

                Start the discussion…




                                                       Be the first to comment.




ALSO ON SHOOTONLINE                                                                                                              WHAT'S THIS?

SXSW Watch: Google X Developments;                                         Music Business To Feel Ripple Effects
Gender Bias In Tech Sector                                                 From "Blurred Lines" Verdict
1 comment • 3 months ago                                                   1 comment • 3 months ago
                                                                                                                                                      TODAY'
 AvatarIm A Ram — I keep looking for evidence,                              AvatarBilly Idol — interesting copyright
      but all I see in every article is that this                                ramifications. I have a feeling this will be in
      woman claims he was interrupting …                                         the courts for some time yet.

BBDO Rolls Out Snickers' "Write­Off"                                       A Remembrance: Albert Maysles
Documentary                                                                                                                                           tabletop...
                                                                           2 comments • 3 months ago
1 comment • 2 months ago                                                    AvatarIliani Matisse — Hi LJ ­ What a beautiful
 AvatarJordan Brady — Fun and funny.                                             tribute to a true pioneer ­ and major
                                                                                 Mensch in the world of advertising that …

                                                                                                                                                      first...

✉     Subscribe         d    Add Disqus to your site                 Privacy




                                                                                                                                  App'x 87            Sean Mulle

http://shootonline.com/spw/greg­kinnear­renee­zellweger­djimon­hounsou­and­jon­voight­star­paramount­pictures%E2%80%99­%E2%80%9Csame­kind                 3/5
6/4/2015   Greg Kinnear, Renee Zellweger, Djimon Hounsou And Jon Voight To Star In Paramount Pictures’ “Same Kind of Different As Me” | SHOOTonline.com
           Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                                       Page 90 of 110 PageID 111




                                                                                                                                                      Mortier to




                                                                                                                                                      POLL

                                                                                                                                                      If you we
                                                                                                                                                      response
                                                                                                                                                      soccer’s



                                                                                                                                                      investiga

                                                                                                                                                      popularit
                                                                                                                                                      scandal.


                                                                                                                                                      Older pol
                                                                                                                                                      Results




ABOUT THE SHOOT PUBLICITY WIRE                                            INFO                                                                            SUBSC


The Publicity News Release Distribution Service for                       Overview
                                                                          Upcoming in SHOOT Magazine
the Entertainment & Advertising Industries ­Motion                        Advertise
                                                                          Post SPW Publicity News Release and/or
Picture Segments ­ Such As Commercialmaking,
                                                                          ScreenWork Video
Filmmaking, Television and Online & Mobile Video                          Commenting Policy                      App'x 88
http://shootonline.com/spw/greg­kinnear­renee­zellweger­djimon­hounsou­and­jon­voight­star­paramount­pictures%E2%80%99­%E2%80%9Csame­kind                 4/5
6/4/2015   Greg Kinnear, Renee Zellweger, Djimon Hounsou And Jon Voight To Star In Paramount Pictures’ “Same Kind of Different As Me” | SHOOTonline.com
           Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15
                                              Privacy Policy                                       Page 91 of 110 PageID 112
Production and Postproduction
                                                                          SHOOT Copyright Notice
                                                                          SPW Copyright Notice
                                                                          Spam Policy
                                                                          Terms of Service (TOS)
                                                                          FAQ



Home About Us Contact FAQ Suggestion Box Subscribe                                                                                  © 1990­2015 DCA Business
                                                                                                                                    SHOOT and SHOOTonline a




                                                                                                                                    App'x 89

http://shootonline.com/spw/greg­kinnear­renee­zellweger­djimon­hounsou­and­jon­voight­star­paramount­pictures%E2%80%99­%E2%80%9Csame­kind                 5/5
       Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                      Page 92 of 110 PageID 113

Phil Andonian
From:                      Phil Andonian
Sent:                      Tuesday, July 14, 2015 11:41 AM
To:                        'Lauren Lawhorn'; Royce Cole
Cc:                        Christine Heffernan; Christine Heffernan
Subject:                   RE: SKODAM Films v. MDA, et al.
Attachments:               2015-07-15 Letter from P. Andonian to J. Rent re SKODAM records request.pdf


Lauren and Royce—

Please see the attached correspondence, which was sent to Jeff Rent at the MDA via certified mail today.

It appears that we are in agreement that the case is functionally over, since we are no longer pursuing our public‐
records request. The sticking point appears to be how best to achieve closure. For a variety of reasons, we cannot
agree to a resolution whereby a permanent protective order is imposed, even if the complaint is withdrawn and the case
is closed. Again, while I understand SKODAM’s desire to have the order, it does not seem necessary at this time. I can
represent that we will not be seeking these documents through another public‐records request and will instead proceed
via a Rule 45 document subpoena in the federal case in California once discovery begins in that matter. The existence of
a protective order under the Mississippi Public Records Act will have no bearing on SKODAM’s or the MDA’s obligation
to respond to a subpoena at that time.

More importantly, however, is that I’m not clear as to SKODAM’s entitlement to relief at this time since we have mooted
the complaint by withdrawing our public‐records request. If we, or anyone, were to make another public‐records
request (and again, I want to assure you we will not be doing so) SKODAM’s proper course of redress would be to file for
another protective order at that time. Unless and until that happens, however, there simply is not a live case or
controversy for the court to resolve at this time.

Lauren—if SKODAM still insists on pursuing the permanent order in light of my representations that we will not be
making another public‐records request and the formal withdrawal of our previous request, perhaps we could set up
another call with the court to raise the issue for discussion?

Thanks very much.

Phil

From: Lauren Lawhorn [mailto:LLawhorn@Brunini.Com]
Sent: Monday, July 13, 2015 4:00 PM
To: Phil Andonian; Royce Cole
Subject: RE: SKODAM Films v. MDA, et al.

Thanks to you both. Phil, no rush.

From: Phil Andonian [mailto:pandonian@bredhoff.com]
Sent: Monday, July 13, 2015 2:32 PM
To: Royce Cole
Cc: Lauren Lawhorn
Subject: Re: SKODAM Films v. MDA, et al.

Hi Lauren and Royce.



                                                           1
                                                                                                           App'x 90
       Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                       Page 93 of 110 PageID 114
I have been in meetings all day and need to review the order. I do want to note that we remain concerned about
disposing of this case via a permanent order. To that end, I wanted to let you both know that we will be formally
withdrawing our FOIA, which I will send out by certified mail tomorrow.

I will respond to Lauren's email in more detail as soon as I can break free from my day chained to a conference room.

Thanks to you both.

Phil

Philip C. Andonian
Bredhoff & Kaiser, P.L.L.C.
P: (202) 842‐2600
F: (202) 842‐1888
Pandonian@bredhoff.com

Sent from my iPhone‐‐please excuse typos

On Jul 13, 2015, at 3:08 PM, Royce Cole <RCOLE@mississippi.org> wrote:

        Lauren,

        I reviewed the proposed Protective Order and the Order of Dismissal. I have no objections or
        modifications. Provide me with an original Protective Order to sign or you may sign my name
        electronically if that’s acceptable to Judge Thomas. After the orders are approved and signed by the
        judge, please provide me with copies for MDA’s file.

        Should you need any additional information from me, please let me know. I appreciate your
        consideration in this matter.

        Thanks,
        Royce M. Cole
        Special Assistant Attorney General
        Mississippi Development Authority
        Post Office Box 849
        Jackson, Mississippi 39205
        601‐359‐3095
        Rcole@mississippi.org




        From: Lauren Lawhorn [mailto:LLawhorn@Brunini.Com]
        Sent: Sunday, July 12, 2015 11:54 AM
        To: Royce Cole; pandonian@bredhoff.com
        Subject: SKODAM Films v. MDA, et al.


        Royce and Phil,

        Phil has agreed to withdraw his public records request. However, SKODAM would like to get a
        permanent protective order in place before it closes this case. Accordingly, attached are a proposed


                                                           2
                                                                                                          App'x 91
     Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                                                   Page 94 of 110 PageID 115
      protective order and a proposed order of dismissal. Please let me know if you two are agreeable to the
      terms. If so, I will handle presenting to the judge on his next ex parte day.

      Thanks,
      Lauren

      Lauren O. Lawhorn
      E: LLawhorn@brunini.com
      P: 601-960-6850 F: 601-960-6902




      The Pinnacle Building
      190 East Capitol St, Suite 100, Jackson, MS 39201
      Post Office Drawer 119, Jackson, MS 39205

      www.brunini.com
      Bio / V-Card



      Confidentiality Statement
      The information contained in this electronic message from the law firm of Brunini, Grantham, Grower & Hewes, PLLC is confidential or
      privileged. The information is intended to be for the use of the individual or entity named above. If you are not the intended recipient, be
      aware that any disclosure, copying, distribution or use of the contents of this message is prohibited. If you have received this electronic
      message in error, please notify us immediately by telephone at (601) 948-3101.




      Confidentiality Note: The Mississippi Development Authority (MDA) is committed to ensuring complete confidentiality of information for our
      customers. To this end, the information contained in this e-mail and/or document(s) attached is for the exclusive use by the individual named
      above and/or their organization and may contain confidential, privileged and non-disclosable information. If you are not the intended
      recipient, please refrain from reading, photocopying, distributing or otherwise using this e-mail or its contents in any way. If you have
      received this transmission in error, please notify me immediately. {MDA-2012}


      ______________________________________________________________________
      This email has been scanned by the Symantec Email Security.cloud service.
      For more information please visit http://www.symanteccloud.com
      ______________________________________________________________________

______________________________________________________________________
This email has been scanned by the Symantec Email Security.cloud service.
For more information please visit http://www.symanteccloud.com
______________________________________________________________________

______________________________________________________________________
This email has been scanned by the Symantec Email Security.cloud service.
For more information please visit http://www.symanteccloud.com
______________________________________________________________________




                                                                              3
                                                                                                                                                      App'x 92
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                     Page 95 of 110 PageID 116

 From:            Lauren Lawhorn
 To:              Phil Andonian
 Cc:              Christine Heffernan; Karen Howell
 Subject:         RE: SKODAM Films, LLC
 Date:            Tuesday, October 20, 2015 3:53:15 PM


 Phil,

 Thank you for your email. I was out of the office last week and have just had the opportunity to
 briefly review the subpoena and speak with the client about it. As I’m sure you will understand,
 given the incredible scope of the subpoena, we are going to need additional time beyond the
 October 23 deadline. Accordingly, we are requesting an additional 30 days, or until November 22 to
 respond and/or assert objections to the subpoena, and will likely need even more time than that to
 prepare any non-privileged documents for production. Please let me know as soon as possible if
 you are agreeable to an initial extension until November 22, or if I need to seek an extension from
 the Court.

 Thanks,
 Lauren

 From: Phil Andonian [mailto:pandonian@bredhoff.com]
 Sent: Thursday, October 15, 2015 8:28 AM
 To: Lauren Lawhorn
 Cc: Christine Heffernan; Christine Heffernan
 Subject: RE: SKODAM Films, LLC

 Hi Lauren.

 My apologies for the late reply to this. Thank you for getting back to me.

 We elected to serve SKODAM Films, LLC in Texas, which was accomplished on Thursday, October 8. I
 am awaiting the relevant materials from the process server, which I will forward to you as soon as I
 get them (if your client has not already).

 In the meantime, I have attached a courtesy copy of the subpoena for your review. Please do not
  hesitate to contact me if you would like to discuss.

 Best,

 Phil

 From: Lauren Lawhorn [mailto:LLawhorn@Brunini.Com]
 Sent: Thursday, September 24, 2015 11:39 AM
 To: Phil Andonian
 Cc: Christine Heffernan; Mark Hosemann; Karen Howell
 Subject: RE: SKODAM Films, LLC




                                                                                                        App'x 93
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                                                Page 96 of 110 PageID 117

 Hi Phil,

 Nice to hear from you and hope all is well for you also.

 We will accept service of AFM’s subpoena to SKODAM via email if it is properly issued pursuant to
 Mississippi Rule of Civil Procedure 45(a)(3). We plan to file any objections we might have to the
 subpoena in Mississippi pursuant to that same rule.

 Please let me know if you would like to discuss the above.

 Thanks,
 Lauren


     Lauren O. Lawhorn
     E: LLawhorn@brunini.com
     P: 601-960-6850 F: 601-960-6902




     The Pinnacle Building
     190 East Capitol St, Suite 100, Jackson, MS 39201
     Post Office Drawer 119, Jackson, MS 39205

     www.brunini.com
     Bio / V-Card



 Confidentiality Statement
 The information contained in this electronic message from the law firm of Brunini, Grantham, Grower & Hewes, PLLC is confidential or
 privileged. The information is intended to be for the use of the individual or entity named above. If you are not the intended recipient, be
 aware that any disclosure, copying, distribution or use of the contents of this message is prohibited. If you have received this electronic
 message in error, please notify us immediately by telephone at (601) 948-3101.


 From: Phil Andonian [mailto:pandonian@bredhoff.com]
 Sent: Wednesday, September 23, 2015 2:34 PM
 To: Lauren Lawhorn
 Cc: Christine Heffernan; Christine Heffernan
 Subject: SKODAM Films, LLC

 Hi Lauren.

 I hope all is well.

 I am writing in regard to your client, SKODAM Films, LLC. As you know,
  SKODAM is a significant third-party to a lawsuit pending in the Central
  District of California (AFM v. Paramount, 2:15-cv-04302-DMG-PJW). We are
  preparing to serve a document subpoena to SKODAM in connection with
  that case and I was wondering if you are representing them in that matter.
  If so, would you be willing to accept service of the subpoena on behalf of


                                                                                                                                                App'x 94
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15          Page 97 of 110 PageID 118

  SKODAM via email?

 If you are no longer representing SKODAM, or at least not in connection with
  the above-captioned case, do you know who is, and would you be able to put
  me in touch with them?

 Thanks very much, Lauren.

 Best,

 Phil

 Philip C. Andonian
 Bredhoff & Kaiser, P.L.L.C.
 805 15th Street, N.W.
 Suite 1000
 Washington, D.C. 20005
 PH (202) 842-2600
 FAX (202) 842-1888
 pandonian@bredhoff.com
 www.bredhoff.com

 *****************************************************************

 This Electronic Transmission Is Intended Only For The Addressee Shown
  Above. It May Contain Information That Is Privileged, Confidential Or
  Otherwise Protected From Disclosure. Any Review, Dissemination Or Use Of
  This Transmission Or Its Contents By Persons Other Than The Addressee Is
  Strictly Prohibited. If You Have Received This Electronic Transmission In
  Error, Please Delete the E-Mail And Notify Us Immediately By Telephone Or
  By Reply E-Mail.

 To Ensure Compliance With The Requirements Imposed By The Internal
  Revenue Service In IRS Circular 230, Please Be Informed That Any Tax
  Advice Contained In This Communication (Including Any Attachments) Is
  Not Intended Or Written To Be Used, And Cannot Be Used, For The Purpose
  Of (i) Avoiding Tax-Related Penalties Under The Internal Revenue Code Or
 (ii) Promoting, Marketing Or Recommending To Another Party Any Tax-
 Related Matter Addressed Herein.

 ******************************************************************


 ______________________________________________________________________
 This email has been scanned by the Symantec Email Security.cloud service.
 For more information please visit http://www.symanteccloud.com
 ______________________________________________________________________



                                                                                   App'x 95
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15      Page 98 of 110 PageID 119

 ______________________________________________________________________
 This email has been scanned by the Symantec Email Security.cloud service.
 For more information please visit http://www.symanteccloud.com
 ______________________________________________________________________

 ______________________________________________________________________
 This email has been scanned by the Symantec Email Security.cloud service.
 For more information please visit http://www.symanteccloud.com
 ______________________________________________________________________

 ______________________________________________________________________
 This email has been scanned by the Symantec Email Security.cloud service.
 For more information please visit http://www.symanteccloud.com
 ______________________________________________________________________




                                                                                   App'x 96
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15   Page 99 of 110 PageID 120




                                                                           App'x 97
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15   Page 100 of 110 PageID 121




                                                                            App'x 98
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15                             Page 101 of 110 PageID 122

  From:        Phil Andonian
  To:          Lauren Lawhorn (LLawhorn@Brunini.Com); Steve Carmody (SCarmody@Brunini.Com)
  Cc:          Robert Alexander; Abigail Carter; Christine Heffernan; Christine Heffernan
  Subject:     AFM v. Paramount Pictures Corporation (2:15-cv-04302-DMG-PJW) -- Skodam Films, LLC document subpoena
  Date:        Wednesday, October 28, 2015 3:35:31 PM


  Dear Lauren and Steve:

  Thank you for taking time for our phone call the other day regarding the
   document subpoena in the above-captioned matter that we served on your
   client, Skodam Films, LLC. I am writing now to confirm my understanding
   of our discussion and of where we stand going forward.

  Skodam was served with the subpoena on October 8. Pursuant to Fed. R.
  Civ. P. 45(d)(2)(B), your objections were due on October 22, and, pursuant to
  the subpoena, Skodam’s documents were due on October 23. On October
  20, you sent me an email in which you requested additional time to respond
  and object to the subpoena—the first time any such request was made by
  you or anyone else on your client’s behalf. Specifically, you requested “an
  additional 30 days,” but “likely…even more time than that to prepare any
  non-privileged documents for production.” The basis for this request was
  simply “the incredible scope of the subpoena” and your representation that
  you had been out of town the week before and had only recently reviewed
  the subpoena and spoken with your client about it. On October 23, you
  served your objections and requested that we have a call to “attempt to
  reach an agreement on the scope of a reasonable document production.” On
  October 23, the due date for production, your client failed to produce any
  responsive documents whatsoever.

  On October 26, we had a telephonic meet and confer to discuss Skodam’s
  non-compliance and your objections to the scope of the subpoena. In the
  main, you represented that you have not identified possible custodians or
  searched for or collected any potentially responsive documents from your
  client, and thus could neither produce any documents nor provide specific
  reasons as to how the subpoena was overly broad or how it imposed an
  undue burden on your client. You asked me instead to identify documents
  that “we wanted first” so you could tailor your collection accordingly.

  As I stated on the call, while I believe that certain documents, such as
  contracts, invoices, and receipts, should be readily available and could be
  (and, indeed, should have been) produced immediately, all of the documents
  that we requested are relevant and necessary to the prosecution of our
  lawsuit, especially responsive communications, including emails. Thus, we
  are entitled to all of the documents we have requested. In an effort to
  accommodate your need for additional time to produce these documents, I
  offered to extend the production deadline until November 6, two weeks
  beyond the initial deadline of October 23. That extension would give your
  client a total of 28 days to comply with the requests. However, you declined


                                                                                                                      App'x 99
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15           Page 102 of 110 PageID 123

  the offer, and committed only to producing contracts, receipts, invoices, and
  other similar documents to the extent you were able to collect any such
  documents within that period. You further stated, unequivocally, that you
  would not produce any responsive emails even by the proposed extended
  deadline, and would not commit to a deadline for emails going forward.

  We were entitled to receive responsive documents from your client on
  October 23. To the extent you need more time to comply with the subpoena,
  we have made a reasonable offer to extend the deadline by an additional two
  weeks, which you have declined. If you are still unwilling to commit to
  complying with the subpoena in full and producing all responsive
  documents by November 6, then we will have to pursue compliance through
  the court. Please advise me of your position as soon as possible, but in any
  event by the end of the day on Friday, October 30.

  Of course, if you would like to discuss this matter further, please do not
  hesitate to contact me.

  I look forward to hearing from you.

  Sincerely,

  Phil


  Philip C. Andonian
  Bredhoff & Kaiser, P.L.L.C.
  805 15th Street, N.W.
  Suite 1000
  Washington, D.C. 20005
  PH (202) 842-2600
  FAX (202) 842-1888
  pandonian@bredhoff.com
  www.bredhoff.com

  *****************************************************************

  This Electronic Transmission Is Intended Only For The Addressee Shown
   Above. It May Contain Information That Is Privileged, Confidential Or
   Otherwise Protected From Disclosure. Any Review, Dissemination Or Use Of
   This Transmission Or Its Contents By Persons Other Than The Addressee Is
   Strictly Prohibited. If You Have Received This Electronic Transmission In
   Error, Please Delete the E-Mail And Notify Us Immediately By Telephone Or
   By Reply E-Mail.

  To Ensure Compliance With The Requirements Imposed By The Internal
   Revenue Service In IRS Circular 230, Please Be Informed That Any Tax
   Advice Contained In This Communication (Including Any Attachments) Is

                                                                                    App'x 100
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15           Page 103 of 110 PageID 124

   Not Intended Or Written To Be Used, And Cannot Be Used, For The Purpose
   Of (i) Avoiding Tax-Related Penalties Under The Internal Revenue Code Or
  (ii) Promoting, Marketing Or Recommending To Another Party Any Tax-
  Related Matter Addressed Herein.

  ******************************************************************




                                                                                     App'x 101
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15   Page 104 of 110 PageID 125




                                                                           App'x 102
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15   Page 105 of 110 PageID 126




                                                                             App'x 103
   Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15            Page 106 of 110 PageID 127
                               BnrnHoFF & KaIsnn, PLLC
                                    Attorneys & Counselors
                                                                           Raphael Rajendra
fulia Penny Clark
feffrey R. Freund                   805 Fifteenth Street NW                |acob Karabell
                                    Washington, DC 20005                   Tanaz Moghadam
|eremiah A. Collins
Mady Gilson                           (2o2) 842-2600 rEL                   Thomas W. Perez-Lopez
Bruce R. Lerner                       (2o2) 842-1.BBB FAX                  Zachary Ista
,{ndrew D, Roth                                                            Caitlin Kekacs
                                      www.bredhoff.com
John M. West                                                               James Graham Lake
Douglas L. Greenfield                                                      Adam M. Bellotti
Roger Pollak                                                               Laurence Gold
Anne Ronnel Mayerson
                                         Elliot Bredhoff
                                            (7927   -   2OO4)              Patricia Polach
Leon Dayan                               Henry Kaiser                      Susan G. Lahne
Devki K. Virk                               (1911 - 1989)
                                                                           Kathleen Keller
Robert Alexander                                                           Philip C. Andonian
Matthew Clash-Drexler                                                      Tearyn J, Loving
Abigail V. Carter                                                              Of Counsel

]oshua B. Shiffrin
                                                                           Robert M. Weinberg
fenifer A. Cromwell                                                            Ssnior Counsol




                                       Novembet 2,201-5

    Via Electronic MaiI Only
    Lauren O. Lawhorn, Esq.
    The Pinnacle Building, Suite L00
    190 East Capitol Street
    Jackson, M.S. 39201"
    llawhorn@brunini.com

    Re         Subpoena Served on SKODAM Films, LLC in Am. Fed. of MusÍcÍans v,
               Paramount PÍctwes Corp., No. 2:15-cv-o43o2 (C.D. Cal.)

    Dear Lauren:

           This letter responds to your letter of October 30, 2015. Contrary to the
    assertion in your letter, we have been attempting to work with SKODAM Films
    ("SKODAM") in its response to the subpoena, which was served on October 5, and
    which you have been aware of for several months. We hope to reach an agreement to
    avoid us having to initiate judicial proceedings to compel compliance.

           However, your letter still does not provide a date certain by which your client
    agrees to comply with any of the subpoena's document requests. It simply states that
    your client "hopelsl to provide responsive contracts in the next two weeks" and that
    "the remaining documents covered by your subpoena will take a significant amount
    of time to gather." With discovery ongoing and the conclusion of fact discovery on
    March 8,201,6, we cannot provide an indefinite extension of time for your client to
    respond to the subpoena. And we are reluctant to provide any exlension in light of
    the fact that you still have not articulated any specific burden that your client would
    face in complying with any aspect of the subpoena-even though the subpoena was
    served on your client four weeks ago. Particularly disturbing is that a substantial
    number of these documents are exactly those that you blocked us from obtaining
                                                                                                App'x 104
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15         Page 107 of 110 PageID 128
Lauren Lawhorn, Esquire
November 2,2OLS
Page 2 of 2

through a FOIA request from the Mississippi Film Office earlier this year. There is
absolutely no burden to you to produce these documents, and they should have
been produced before now.

       Although you have articulated no legitimate basis to stall production as you
have, in one last effort to resolve these disputes, we are willing to give your client
until Friday, November L3 to produce all contracts relating to both the production
and scoring of. Same Kind of DÍfferent As Me, as well as all permits, licenses,
applications for permits or licenses, invoices, bills, receipts, expense reimbursement
fotms, and press releases related to Same Kind of DÍfferent as Me; until Frida]¡.
November 20 to produce all documents responsive to document request Nos. 26-35
and Nos. 49-51"; until Wednesday. November 25 to produce all documents, including
e-mail communications, responsive to document request Nos. 9-L4 and 39-48 (most
of which likely will be responsive to more than one request); and until Tuesda]¡.
December 1" to produce a privilege log for any responsive documents withheld from
the production. If your client agrees to and complies with this proposal, we will
consider your client to have fully responded to the subpoena. Please let us know by
Wednesday, November 4 at'J.2 p.m. Central Standard Time whether your client
agrees to this proposal. If not, we will file a motion to compel compliance with the
subpoena in its entirety later this week.

       Finally, your letter states that "we expect your client to pay SKODAM's cost
of production." As I am sure you are aware, the general rule is that a subpoenaed
party bears its own costs of production, and we see no reason why that rule would
not apply here-particularly considering the critical relevance of the documents
requested in the subpoena and the interrelationship between SKODAM and
Defendant Paramount. If your client only will condition compliance with the
subpoena on an agreement that the AFM pays the costs of production, we will have
no choice but to move to compel compliance.

      I look forward to hearing from you.

                                                                   ly,



                                                                  C. Andonian
                                                           Counsel for PlaÍntÍff AFM



CC (via electronic   mail): Lewis Levy, Esquire
                            Daniel Barth, Esquire



                                                                                         App'x 105
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15   Page 108 of 110 PageID 129




                                                                             App'x 106
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15   Page 109 of 110 PageID 130




                                                                            App'x 107
Case 3:15-mc-00122-M-BN Document 3 Filed 11/06/15               Page 110 of 110 PageID 131



                                CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2015, the foregoing document was duly served in
 accordance with the provisions of Rule 5 of the Federal Rules of Civil Procedure, by both
 U.S.P.S. Priority Mail and electronic mail, to the following recipients:

 Lauren O. Lawhorn, Esq.
 Brunini, Grantham, Grower & Hewes, PLLC
 The Pinnacle Building, Suite 100
 190 East Capitol Street
 Jackson, MS 39201
 llawhorn@brunini.com
 Counsel for Skodam Films, LLC

 Adam Levin, Esq.
 Justine Lazarus, Esq.
 Mitchell Silberberg & Knupp LLP
 11377 West Olympic Boulevard
 Los Angeles, CA 90064-1683
 axl@msk.com
 Counsel for Defendant Paramount Pictures Corp.


                                                   /s/ Joseph H. Gillespie




                                                                                          App'x 108
